Case 2:16-cv-03714-GW-AGR Document 2179 Filed 04/30/20 Page 1 of 44 Page ID
                               #:143099
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 12   Broadcom Corporation, Avago
      Technologies Limited, and Apple Inc.
 13
 14                      UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
 15                                             CASE NO. 2:16-cv-3714-GW(AGRx)
      THE CALIFORNIA INSTITUTE OF
 16   TECHNOLOGY,
                                                DEFENDANTS’ OPPOSITION TO
                    Plaintiff,
 17                                             CALTECH’S MOTION FOR
                                                SUPPLEMENTAL DAMAGES,
 18       vs.
                                                INTEREST, ATTORNEYS’ FEES,
 19                                             AND A PERMANENT
      BROADCOM LIMITED, BROADCOM
                                                INJUNCTION OR ONGOING
 20   CORPORATION, AVAGO
                                                ROYALTIES
      TECHNOLOGIES LIMITED, AND
 21
      APPLE INC.,                               Hon. George H. Wu
 22                                             United States District Judge
                         Defendants.            Hearing Date: June 1, 2020
 23                                             Time: 8:30 AM
                                                Place: Courtroom 9D
 24
 25
 26
 27
 28
                                                              Case No. 2:16-cv-3714-GW-AGRx
                                  DEFENDANTS’ OPPOSITION TO CALTECH’S POST-TRIAL MOTION
Case 2:16-cv-03714-GW-AGR Document 2179 Filed 04/30/20 Page 2 of 44 Page ID
                               #:143100
        REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED UNDER SEAL

  1   BROADCOM LIMITED, BROADCOM
      CORPORATION, AVAGO
  2
      TECHNOLOGIES LIMITED, AND
  3   APPLE INC.,
  4
                       Counterclaim-
  5                    Plaintiffs,
  6
         vs.
  7
      THE CALIFORNIA INSTITUTE OF
  8
      TECHNOLOGY,
  9
                       Counterclaim-
 10
                       Defendant.
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                                                           Case No. 2:16-cv-3714-GW-AGRx
                               DEFENDANTS’ OPPOSITION TO CALTECH’S POST-TRIAL MOTION
Case 2:16-cv-03714-GW-AGR Document 2179 Filed 04/30/20 Page 3 of 44 Page ID
                               #:143101
        REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED UNDER SEAL
  1
                                            TABLE OF CONTENTS
  2
  3   I.       INTRODUCTION ........................................................................................... 1

  4   II.      ANY RULING ON SUPPLEMENTAL DAMAGES, INTEREST,
               AND ONGOING ROYALTIES SHOULD BE DEFERRED. ....................... 1
  5
  6   III.     CALTECH’S SUPPLEMENTAL DAMAGES REQUEST SHOULD
               BE DENIED. ................................................................................................... 2
  7
      IV.      CALTECH’S PRE-JUDGMENT INTEREST REQUEST SHOULD
  8
               BE DENIED. ................................................................................................... 5
  9
      V.       CALTECH’S INJUNCTION REQUEST SHOULD BE DENIED................ 8
 10
               A.       Caltech Will Not Suffer Irreparable Harm, And Money Damages
 11
                        Are More Than Adequate Compensation In Any Event. ..................... 9
 12
               B.       The Balance of Hardships Favors Broadcom and Apple.................... 12
 13
               C.       An Injunction Would Be Against the Public Interest. ........................ 13
 14
 15   VI.      CALTECH’S ONGOING ROYALTY REQUEST SHOULD BE
               DENIED. ....................................................................................................... 16
 16
               A.       The Court Should Defer or Deny Caltech’s Request For An
 17
                        Ongoing Royalty. ................................................................................ 16
 18
               B.       Alternatively, Caltech’s Requested Ongoing Royalty Scheme
 19                     Should Be Rejected. ............................................................................ 16
 20
      VII. CALTECH’S ATTORNEYS’ FEES REQUEST SHOULD BE
 21        DENIED. ....................................................................................................... 22
 22            A.       Caltech Has Not Identified Any Unreasonable Discovery
 23                     Conduct That Could Serve As The Basis For A Fees Award............. 24
 24            B.       Caltech Has Not Identified Any Other Pre-Trial Litigation
                        Conduct That Could Serve As The Basis For A Fees Award............. 29
 25
 26            C.       Caltech Has Not Identified Any Trial Conduct That Could
                        Serve As The Basis For A Fees Award. ............................................. 33
 27
      VIII. CONCLUSION ............................................................................................. 35
 28

                                                                             Case No. 2:16-cv-3714-GW-AGRx
                                                 DEFENDANTS’ OPPOSITION TO CALTECH’S POST-TRIAL MOTION
Case 2:16-cv-03714-GW-AGR Document 2179 Filed 04/30/20 Page 4 of 44 Page ID
                               #:143102
        REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED UNDER SEAL
  1
  2                                      TABLE OF AUTHORITIES
  3
                                                                                                            Page(s)
  4
      Federal Cases
  5
      ActiveVideo Networks, Inc. v. Verizon Communications, Inc.,
  6
         694 F.3d 1312 (Fed. Cir. 2012) ..........................................................9, 10, 11, 12
  7
      Apple Inc. v. Samsung Electronics Co.,
  8     67 F. Supp. 3d 1100 (N.D. Cal. 2014).............................................................. 1, 7
  9
      Apple Inc. v. Samsung Electronics Co.,
 10     678 F.3d 1314 (Fed. Cir. 2012) ...................................................................... 9, 12
 11   Apple Inc. v. Samsung Electronics Co.,
 12     735 F.3d 1352 (Fed. Cir. 2013) ................................................................ 9, 11, 14
 13   Apple Inc. v. Samsung Electronics Co.,
 14     809 F.3d 633 (Fed. Cir. 2015) ............................................................................ 11

 15   Apple Inc. v. Samsung Electronics Co.,
        926 F. Supp. 2d 1100 (N.D. Cal. 2013).................................................... 1, 4, 7, 8
 16
 17   Ariba, Inc. v. Emptoris, Inc.,
         567 F. Supp. 2d 914 (E.D. Tex. 2008) ............................................................... 20
 18
      BASF Plant Science, LP v. Commonwealth Scientific & Industrial
 19     Research Organisation,
 20     2019 WL 8108116 (E.D. Va. Dec. 23, 2019)..................................................... 10
 21   Bianco v. Globus Medical, Inc.,
 22      2014 WL 1049067 (E.D. Tex. Mar. 17, 2014) ................................................... 10

 23   Bianco v. Globus Medical, Inc.,
         53 F. Supp. 3d 929 (E.D. Tex. 2014) ................................................................. 17
 24
 25   Bio-Rad Laboratories, Inc. v. Nicolet Instrument Corp.,
         807 F.2d 964 (Fed. Cir. 1986) .............................................................................. 6
 26
      California Institute of Technology v. Hughes Communications, Inc.,
 27     2015 WL 11089495 (C.D. Cal. May 5, 2015).................................................... 32
 28

                                                                          Case No. 2:16-cv-3714-GW-AGRx
                                              DEFENDANTS’ OPPOSITION TO CALTECH’S POST-TRIAL MOTION
Case 2:16-cv-03714-GW-AGR Document 2179 Filed 04/30/20 Page 5 of 44 Page ID
                               #:143103
        REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED UNDER SEAL
  1   Carnegie Mellon University v. Marvell Technology Group, Ltd.,
        2014 WL 1320154 (W.D. Pa. Mar. 31, 2014) .................................................... 13
  2
  3   Cave Consulting Group, LLC v. Optuminsight, Inc.,
        2016 WL 4658979 (N.D. Cal. Sept. 7, 2016)....................................................... 2
  4
      Celsis In Vitro, Inc. v. CellzDirect, Inc.,
  5
         664 F.3d 922 (Fed. Cir. 2012) .............................................................................. 9
  6
      Cioffi v. Google, Inc.,
  7      2017 WL 4011143 (E.D. Tex. Sept. 12, 2017) ................................18, 19, 20, 21
  8
      Conceptus, Inc. v. Hologic, Inc.,
  9     2012 WL 44064 (N.D. Cal. Jan. 9, 2012) ........................................................ 6, 8
 10   Core Wireless Licensing S.A.R.L. v. LG Elecs., Inc.,
 11     2020 WL 1478396 (E.D. Tex. Mar. 26, 2020) ................................................... 23
 12   Crystal Semiconductor Corp. v. TriTech Microelectronics
 13      International, Inc., 246 F.3d 1336 (Fed. Cir. 2001) ............................................. 6

 14   Cummins-Allison Corp. v. SBM Co.,
        584 F. Supp. 2d 916 (E.D. Tex. 2008) ............................................................... 18
 15
 16   eBay v. MercExchange, LLC,
        547 U.S. 388 (2006) ............................................................................................. 9
 17
      EcoServices, LLC v. Certified Aviation Services, LLC,
 18     340 F. Supp. 3d 1004 (C.D. Cal. 2018) .............................................................. 12
 19
      EMC Corp. v. Zerto, Inc.,
 20     2017 WL 3434212 (D. Del. Aug. 10, 2017)........................................... 18, 20, 21
 21   Eolas Technologies Inc. v. Microsoft Corp.,
 22      2004 WL 170334 (N.D. Ill. Jan. 15, 2004) .......................................................... 2
 23   Finjan, Inc. v. Secure Computing Corp.,
 24      626 F.3d 1197 (Fed. Cir. 2010) ............................................................................ 3

 25   General Motors Corp. v. Devex Corp.,
        461 U.S. 648 (1983) ......................................................................................... 5, 6
 26
 27   Halo Electronics, Inc. v. Pulse Electronics, Inc.,
        136 S. Ct. 1923 (2016) ....................................................................................... 21
 28

                                                                            Case No. 2:16-cv-3714-GW-AGRx
                                                DEFENDANTS’ OPPOSITION TO CALTECH’S POST-TRIAL MOTION
Case 2:16-cv-03714-GW-AGR Document 2179 Filed 04/30/20 Page 6 of 44 Page ID
                               #:143104
        REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED UNDER SEAL
  1   Hynix Semiconductor Inc. v. Rambus Inc.,
        609 F. Supp. 2d 951 (N.D. Cal. 2009)............................................................ 4, 10
  2
  3   Itron, Inc. v. Benghiat,
          2003 WL 22037710 (D. Minn. Aug. 29, 2003).................................................... 2
  4
      Kaneka Corp. v. SKC Kolon PI, Inc.,
  5
        198 F. Supp. 3d 1089 (C.D. Cal. 2016) ................................................................ 6
  6
      Kolcraft Enterprises, Inc. v. Chicco USA, Inc.,
  7     2019 WL 4242482 (N.D. Ill. Sept. 6, 2019)....................................................... 31
  8
      Laitram Corp. v. NEC Corp.,
  9      115 F.3d 947 (Fed. Cir. 1997) .......................................................................... 7, 8
 10   Lubby Holdings, LLC v. Chung,
 11     2019 WL 4284509 (C.D. Cal. June 27, 2019).............................................. 23, 33
 12   Lucent Technologies, Inc. v. Newbridge Networks Corp.,
 13      168 F. Supp. 2d 269 (D. Del. 2001) ..................................................................... 3

 14   Mars, Inc. v. Coin Acceptors, Inc.,
        513 F. Supp. 2d 128 (D.N.J. 2007)................................................................... 7, 8
 15
 16   Mass Engineered Design, Inc. v. Planar Systems, Inc.,
        2019 WL 5856429 (D. Or. Nov. 8, 2019) .......................................................... 33
 17
      Milwaukee Electric Tool Corp. v. Snap-On Inc.,
 18      288 F. Supp. 3d 872 (E.D. Wis. 2017) ................................................................. 6
 19
      Monsanto Co. v. Geerston Seed Farms,
 20     561 U.S. 139 (2010) ............................................................................................. 9
 21   Munchkin, Inc. v. Luv N’ Care, Ltd.,
 22     2018 WL 7504404 (C.D. Cal. Dec. 27, 2018) ................................................... 24
 23   Nichia Corp. v. Everlight Americas, Inc.,
 24      855 F.3d 1328 (Fed. Cir. 2017) ............................................................................ 9

 25   Octane Fitness, LLC v. ICON Health & Fitness, Inc.,
        572 U.S. 545 (2014) ........................................................................................... 22
 26
 27   Oscar Mayer Foods Corp. v. Conagra, Inc.,
        869 F. Supp. 656 (W.D. Wis. 1994) ..................................................................... 4
 28

                                                                            Case No. 2:16-cv-3714-GW-AGRx
                                                DEFENDANTS’ OPPOSITION TO CALTECH’S POST-TRIAL MOTION
Case 2:16-cv-03714-GW-AGR Document 2179 Filed 04/30/20 Page 7 of 44 Page ID
                               #:143105
        REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED UNDER SEAL
  1   Paice LLC v. Toyota Motor Corp.,
         504 F.3d 1293 (Fed. Cir. 2007) .......................................................................... 16
  2
  3   Power Integrations, Inc. v. Fairchild Semiconductor International,
        Inc., 2015 WL 604582 (N.D. Cal. Feb. 12, 2015)........................................ 11-12
  4
      Power Integrations, Inc. v. Fairchild Semiconductor International,
  5
        Inc., 711 F.3d 1348 (Fed. Cir. 2013) .................................................................... 3
  6
      Presidio Components Inc. v. American Technical Ceramics Corp.,
  7      2010 WL 3070370 (S.D. Cal. Aug. 5, 2010) ....................................................... 4
  8
      Read Corp. v. Portec, Inc.,
  9     970 F.2d 816 (Fed. Cir. 1992) ............................................................................ 21
 10   Riles v. Shell Exploration & Produdction Co.,
 11      298 F.3d 1302 (Fed. Cir. 2002) .......................................................................... 13
 12   Southern California Retail Clerks Union & Food Employers Joint
 13      Pension Trust Fund v. Bjorklund,
         728 F.2d 1262 (9th Cir. 1984) ................................................................ 2, 3, 8, 16
 14
      Sociedad Espanola de Electromedicina y Calidad, S.A. v. Blue Ridge
 15      X-Ray Co., 226 F. Supp. 3d 520 (W.D.N.C. 2016) ............................................ 23
 16
      Soverain Software LLC v. J.C. Penney Corp.,
 17      899 F. Supp. 2d 574 (E.D. Tex. 2012) ............................................................... 17
 18   St. Lawrence Communications LLC v. Motorola Mobility LLC,
 19       2017 WL 6268735 (E.D. Tex. Dec. 8, 2017) ..................................................... 18
 20   Stone Basket Innovations, LLC v. Cook Medical LLC,
 21      892 F.3d 1175 (Fed. Cir. 2018) .......................................................................... 29

 22   Stragent, LLC v. Intel Corp.,
         2014 WL 6756304 (E.D. Tex. Aug. 6, 2014)............................................... 22, 24
 23
 24   Tannas v. Multichip Display, Inc.,
        2018 WL 1033219 (C.D. Cal. Feb. 21, 2018) .................................................... 24
 25
      Therasense, Inc. v. Becton, Dickinson and Co.,
 26      649 F.3d 1276 (Fed. Cir. 2011) .......................................................................... 32
 27
      TransPerfect Global, Inc. v. MotionPoint Corp.,
 28      2014 WL 6068384 (N.D. Cal. Nov. 13, 2014) ..................................................... 3

                                                                         Case No. 2:16-cv-3714-GW-AGRx
                                             DEFENDANTS’ OPPOSITION TO CALTECH’S POST-TRIAL MOTION
Case 2:16-cv-03714-GW-AGR Document 2179 Filed 04/30/20 Page 8 of 44 Page ID
                               #:143106
        REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED UNDER SEAL
  1   Tristrata Technology, Inc. v. ICN Pharmaceuticals, Inc.,
         2004 WL 769357 (D. Del. Apr. 7, 2004) ............................................................. 3
  2
  3   University of Pittsburgh v. Varian Medical Systems, Inc.,
        2012 WL 1436569 (W.D. Pa. Apr. 25, 2012) .................................................... 20
  4
      University of Utah v. Max-Planck-Gesellschaft zur Foerderung der
  5
        Wissenshaften,
  6     851 F.3d 1317 (Fed. Cir. 2017) .................................................................... 23, 30
  7   Vectura Ltd. v. GlaxoSmithKline LLC,
  8      2019 WL 4346502 (D. Del. Sept. 12, 2019) ................................................ 20, 30
  9   Veracode, Inc. v. Appthority, Inc.,
         137 F. Supp. 3d 17 (D. Mass. 2015)..................................................................... 5
 10
 11   WesternGeco L.L.C. v. ION Geophysical Corp.,
        953 F. Supp. 2d 731 (S.D. Tex. 2013)................................................................ 30
 12
 13   Whitserve, LLC v. Computer Packages, Inc.,
        694 F.3d 10 (Fed. Cir. 2012) .............................................................................. 16
 14
      Winter v. Natural Res. Def. Council, Inc.,
 15     555 U.S. 7 (2008) ................................................................................................. 9
 16
      XpertUniverse, Inc. v. Cisco Systems, Inc.,
 17     2013 WL 6118447 (D. Del. Nov. 20, 2013)....................................................... 16
 18   Federal Statutes
 19
      35 U.S.C. § 285.................................................................................................. 23, 31
 20
      35 U.S.C. § 314(a) ................................................................................................... 30
 21
 22
 23
 24
 25
 26
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 28

                                                                             Case No. 2:16-cv-3714-GW-AGRx
                                                 DEFENDANTS’ OPPOSITION TO CALTECH’S POST-TRIAL MOTION
Case 2:16-cv-03714-GW-AGR Document 2179 Filed 04/30/20 Page 9 of 44 Page ID
                               #:143107
        REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED UNDER SEAL
  1   I.    INTRODUCTION
  2         Caltech’s motion requests a host of monetary remedies that would drastically
  3   multiply its ill-founded and already-exorbitant damages award, plus a permanent
  4   injunction. As an initial matter, no monetary or equitable relief is warranted because
  5   Defendants are entitled to judgment as a matter of law or a new trial, as explained
  6   in their post-trial motion. Alternatively, in the interest of judicial economy, a
  7   decision on Caltech’s newly requested monetary relief should be deferred until after
  8   any appeals. But if the Court reaches the merits now, it should decline to award any
  9   additional monetary relief or the requested equitable remedies for the reasons below.
 10 II.    ANY RULING ON SUPPLEMENTAL DAMAGES, INTEREST, AND
           ONGOING ROYALTIES SHOULD BE DEFERRED.
 11
           In their post-trial motion (Dkt. 2160-1), Defendants explained in detail why
 12
      they are entitled to judgment of no infringement and no damages, or alternatively,
 13
      to a new trial. In addition, Defendants have multiple additional grounds for appeal
 14
      that, if successful, would separately require vacating any infringement finding
 15
      and/or damages award, including based on rulings directed to claim construction,
 16
      the dismissal of Defendants’ invalidity and unenforceability defenses, and Daubert
 17
      issues. Resolution of those issues—by either this Court or the Federal Circuit—
 18
      could eliminate the need for the Court to ever reach Caltech’s request for additional
 19
      money remedies (or at least could drastically change their calculation).
 20
           Thus, it would promote judicial economy to defer any accounting involving
 21
      these requested remedies until after any appeal—as numerous other courts have
 22
      done in similar circumstances. See Apple Inc. v. Samsung Elecs. Co., 926 F. Supp.
 23
      2d 1100, 1107 (N.D. Cal. 2013) (deferring “consideration of evidence of actual post-
 24
      verdict sales until after the completion of the appeals in this case”), vacated in part
 25
      on other grounds, 786 F.3d 983 (Fed. Cir. 2015); Apple Inc. v. Samsung Elecs. Co.,
 26
      67 F. Supp. 3d 1100, 1118, 1122 (N.D. Cal. 2014) (holding “it will be more efficient
 27
      to calculate prejudgment interest after appeal, when the final amount of the judgment
 28

                                        -1-                      Case No. 2:16-cv-3714-GW-AGRx
                                     DEFENDANTS’ OPPOSITION TO CALTECH’S POST-TRIAL MOTION
Case 2:16-cv-03714-GW-AGR Document 2179 Filed 04/30/20 Page 10 of 44 Page ID
                                #:143108
        REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED UNDER SEAL
  1   is known,” and also delaying calculation of additional damages because “proceeding
  2   without the Federal Circuit’s guidance may cause unnecessary expenditures of time
  3   and resources should the Circuit reverse any part of the jury’s verdict on liability”);
  4   Cave Consulting Grp., LLC v. Optuminsight, Inc., 2016 WL 4658979, at *24 (N.D.
  5   Cal. Sept. 7, 2016) (deferring “consideration of evidence and calculating the ongoing
  6   royalty rate until after the completion of the appeals in this case”), vacated on other
  7   grounds, 725 F. App’x 988 (Fed. Cir. 2018); Eolas Techs. Inc. v. Microsoft Corp.,
  8   2004 WL 170334, at *8 (N.D. Ill. Jan. 15, 2004) (delaying accounting of
  9   supplemental damages and prejudgment interest until “after any appeal”), vacated
 10   in part on other grounds, 399 F.3d 1325 (Fed. Cir. 2005); Itron, Inc. v. Benghiat,
 11   2003 WL 22037710, at *16 (D. Minn. Aug. 29, 2003) (“To avoid potentially
 12   unnecessary expenditures of time and money in preparing … an accounting … the
 13   Court will stay pending resolution of all appeals in this case.”).1
 14   III.     CALTECH’S SUPPLEMENTAL DAMAGES REQUEST SHOULD BE
               DENIED.
 15
               If the Court addresses the issue of supplemental damages now, it should deny
 16
      Caltech’s request for “an accounting of and supplemental damages for Defendants’
 17
      sales of infringing products from the end-dates of the prior sales data up to the date
 18
      the Court enters final judgment.” Dkt. 2168-1 (“Mot.”) at 5.
 19
             First, Caltech waived any right to seek supplemental damages by failing to
 20
      request that remedy in the joint proposed pretrial order. Dkt. 1664-1 at 3 (only
 21
      requesting “a reasonable royalty … to compensate for what Caltech believes to be
 22
      the unlicensed use of its patents from December 2009 to the present”).2 See S. Cal.
 23
      Retail Clerks Union & Food Emp’rs Joint Pension Tr. Fund v. Bjorklund, 728 F.2d
 24
 25
 26   1
       This approach will not delay any damages payment to Caltech, as the parties have
 27   agreed that Defendants will not need to pay a judgment, if any, until after completion
      of all appeals and remand proceedings.
 28   2
          All bold/italics emphasis in this brief is added.
                                           -2-                      Case No. 2:16-cv-3714-GW-AGRx
                                        DEFENDANTS’ OPPOSITION TO CALTECH’S POST-TRIAL MOTION
Case 2:16-cv-03714-GW-AGR Document 2179 Filed 04/30/20 Page 11 of 44 Page ID
                                #:143109
        REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED UNDER SEAL
  1   1262, 1264 (9th Cir. 1984) (“We have consistently held that issues not preserved in
  2   the pretrial order have been eliminated from the action.”); Lucent Techs., Inc. v.
  3   Newbridge Networks Corp., 168 F. Supp. 2d 269, 272-73 (D. Del. 2001) (denying
  4   supplemental damages request not in pretrial order); Tristrata Tech., Inc. v. ICN
  5   Pharms., Inc., 2004 WL 769357, at *2 (D. Del. Apr. 7, 2004) (“Tristrata waived its
  6   right to request an accounting by not including it in its Pretrial Order.”).3
  7        Second, beyond its waiver, Caltech is not entitled to any damages for the many
  8   reasons explained in Defendants’ post-trial motion—including because Defendants
  9   are entitled to judgment of no infringement and also because Caltech failed to offer
 10   a viable and/or factually supported damages theory at trial. Dkt. 2160-1 at 1-28.
 11   Therefore, there is no proper basis to award supplemental damages in any amount.
 12        Third, Caltech seeks supplemental damages (for accused Broadcom chips sold
 13   between August 2019 and the date of the jury’s verdict, and for accused Apple
 14   products sold between September 2019 and the date of the jury’s verdict) because
 15   sales data for those products was “not available from Defendants at the time of trial.”
 16   Mot. at 5. If Caltech intended to seek damages based on those added sales, it should
 17   have moved to compel production of the underlying sales data before trial, or at least
 18   requested its production at trial—but it did neither of those things. See TransPerfect
 19   Global, Inc. v. MotionPoint Corp., 2014 WL 6068384, at *4 (N.D. Cal. Nov. 13,
 20   2014) (denying pre-verdict supplemental damages where patentee “did not move to
 21   compel the financial information necessary to calculate [them]”).
 22        Caltech alternatively could have asked the jury to adjust its damages award
 23
 24   3
        The Federal Circuit has held that no waiver occurred where a party failed to request
 25   supplemental damages in a complaint, but has not addressed waiver of supplemental
      damages requests in the context of the Ninth Circuit rule that “issues not preserved
 26
      in the pretrial order have been eliminated from the action.” S. Cal. Retail Clerks
 27   Union, 728 F.2d at 1264; see Finjan, Inc. v. Secure Computing Corp., 626 F.3d
      1197, 1212-13 (Fed. Cir. 2010); Power Integrations, Inc. v. Fairchild
 28
      Semiconductor Int’l, Inc., 711 F.3d 1348, 1380-81 (Fed. Cir. 2013).
                                        -3-                      Case No. 2:16-cv-3714-GW-AGRx
                                     DEFENDANTS’ OPPOSITION TO CALTECH’S POST-TRIAL MOTION
Case 2:16-cv-03714-GW-AGR Document 2179 Filed 04/30/20 Page 12 of 44 Page ID
                                #:143110
        REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED UNDER SEAL
  1   upward to account for accused products allegedly missing from the royalty base
  2   (due, for example, to incomplete sales data)—which it also did not do. See Presidio
  3   Components Inc. v. Am. Tech. Ceramics Corp., 2010 WL 3070370, at *2 n.1 (S.D.
  4   Cal. Aug. 5, 2010) (explaining patentee “could have—but did not—argue to the jury
  5   that its suggested [damages] amount … should be proportionally increased for the
  6   two months not accounted in the sales data,” and “[u]nder these circumstances,
  7   awarding additional amounts of damages incurred before trial would be an improper
  8   invasion of the jury’s province to determine actual damages” (citation omitted)),
  9   aff’d in part, vacated in part on other grounds, 702 F.3d 1351 (Fed. Cir. 2012);
 10   Apple, 926 F. Supp. 2d at 1104-05 (denying supplemental damages for pre-verdict
 11   sales where “nothing precluded [patentee] from arguing that the jury should consider
 12   [those] sales [for which data was missing], or from presenting evidence on how to
 13   estimate such sales”); Oscar Mayer Foods Corp. v. Conagra, Inc., 869 F. Supp. 656,
 14   668 (W.D. Wis. 1994) (denying damages “for that period of time prior to trial for
 15   which plaintiff offered no evidence of lost profits”).
 16         Fourth, Caltech cannot justify its request for supplemental damages directed
 17   to products “not colorably different” from those accused at trial, including based on
 18   the parties’ representative products stipulation. Mot. at 5. The Court excluded those
 19   products from trial—at Caltech’s urging. 12/30/19 Hr’g Tr. 61:16-67:25 (Court:
 20   “They’re not accused products. They’re not relevant. They’re out.”). Caltech
 21   cannot fairly recover supplemental damages based on products that it successfully
 22   kept the jury from considering.
 23         Further, as Caltech admits, Mot. at 3, when permitted, supplemental damages
 24   “serve[] section 284’s expressed interest in providing damages ‘adequate to
 25   compensate for the infringement.’” Hynix Semiconductor Inc. v. Rambus Inc., 609
 26   F. Supp. 2d 951, 961 (N.D. Cal. 2009). Products “not colorably different” from
 27   those specifically accused at trial were not part of “the infringement” found by the
 28   jury, and thus are not a proper basis for supplemental damages. For that reason, it

                                        -4-                      Case No. 2:16-cv-3714-GW-AGRx
                                     DEFENDANTS’ OPPOSITION TO CALTECH’S POST-TRIAL MOTION
Case 2:16-cv-03714-GW-AGR Document 2179 Filed 04/30/20 Page 13 of 44 Page ID
                                #:143111
        REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED UNDER SEAL
  1   is not surprising that Caltech fails to cite any decision awarding supplemental
  2   damages on products “not colorably different” from those actually accused at trial.
  3         Finally, if the Court elects to award supplemental damages for alleged post-
  4   verdict infringement, it should reject Caltech’s request to use the rates that the jury
  5   applied for its damages award. See Veracode, Inc. v. Appthority, Inc., 137 F. Supp.
  6   3d 17, 84 (D. Mass. 2015) (“The amount of supplemental damages following a jury
  7   verdict is a matter committed to the sound discretion of the district court,” and “need
  8   not necessarily be derived from the royalty rate applied by the jury.”).
  9         As explained in Defendants’ post-trial motion, the royalty rates that Caltech
 10   asserted, and the jury adopted, were legally improper and factually unsupported for
 11   many reasons—including because they were (1) premised on the flawed starting
 12   point of using two different rates for Broadcom and Apple based on two different
 13   hypothetical negotiations (even though Caltech’s infringement allegations for both
 14   Defendants stemmed from the same accused functionality in the same Broadcom
 15   chips), (2) based on non-comparable “anchor” licenses (without any apportionment),
 16   (3) imputed incorrectly, and (4) upward adjusted without any proper basis to do so.
 17   Dkt. 2160-1 at 11-18. It would be error to allow Caltech to base a supplemental
 18   damages claim on the same flawed rates here.
 19         Nevertheless, if the Court upholds the jury’s infringement verdict and the rate
 20   that the jury applied for its damages award, and also permits Caltech to seek
 21   supplemental damages, any such claim should at most apply a single rate for all
 22   Broadcom and Apple accused products—i.e., whatever rate the Court applies to the
 23   accused Broadcom chips that the jury found to infringe. Id. at 5-8, 16-18.
 24   IV.   CALTECH’S PRE-JUDGMENT INTEREST REQUEST SHOULD BE
            DENIED.
 25
            Although pre-judgment interest “should ordinarily be awarded,” Section 284
 26
      does not “requir[e] the award of prejudgment interest whenever infringement is
 27
      found.” General Motors Corp. v. Devex Corp., 461 U.S. 648, 655-56 (1983).
 28

                                        -5-                      Case No. 2:16-cv-3714-GW-AGRx
                                     DEFENDANTS’ OPPOSITION TO CALTECH’S POST-TRIAL MOTION
Case 2:16-cv-03714-GW-AGR Document 2179 Filed 04/30/20 Page 14 of 44 Page ID
                                #:143112
        REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED UNDER SEAL
  1   Instead, whether to award pre-judgment interest (including the rate used and if
  2   compounding should occur) is committed to the Court’s discretion, and “it may be
  3   appropriate to limit prejudgment interest, or perhaps even deny it altogether, where
  4   the patent owner has been responsible for undue delay in prosecuting the lawsuit.”
  5   Id. at 656-57; see Bio-Rad Labs., Inc. v. Nicolet Instrument Corp., 807 F.2d 964,
  6   969 (Fed. Cir. 1986) (“The rate of prejudgment interest and whether it should be
  7   compounded or uncompounded are matters left largely to the discretion of the
  8   district court.”). Moreover, there “may be other circumstances in which it may be
  9   appropriate not to award prejudgment interest.” General Motors, 461 U.S. at 657.
 10       Here, Caltech’s request for pre-judgment interest should be denied because
 11   Caltech is not entitled to any damages. Dkt. 2160-1 at 1-28. In addition, in the
 12   unlikely event the jury’s infringement verdict and damages award survive intact,
 13   including after any appeals, pre-judgment interest should be denied because an
 14   award of more than $1.1 billion already would make Caltech more than “whole” for
 15   Broadcom’s and Apple’s alleged infringement. See General Motors, 461 U.S. at
 16   656; Conceptus, Inc. v. Hologic, Inc., 2012 WL 44064, at *4 (N.D. Cal. Jan. 9, 2012)
 17   (denying pre-judgment interest where “[the] jury award was generous enough”).
 18       Pre-judgment interest also should be denied because Caltech waited seven years
 19   to file this lawsuit after the first allegedly infringing act by Defendants—which
 20   drove up the volume of allegedly infringing sales and the period over which Caltech
 21   is now seeking interest, compounded annually. See General Motors, 461 U.S. at
 22   657 (pre-judgment interest may not be justified if prevailing party was “responsible
 23   for undue delay in prosecuting the lawsuit”); Crystal Semiconductor Corp. v.
 24   TriTech Microelectronics Int’l, Inc., 246 F.3d 1336, 1361-62 (Fed. Cir. 2001)
 25   (affirming denial of pre-judgment interest where patentee delayed two years in
 26   bringing suit); Milwaukee Elec. Tool Corp. v. Snap-On Inc., 288 F. Supp. 3d 872,
 27   907-08 (E.D. Wis. 2017) (denying pre-judgment interest for pre-suit period where
 28   delay in filing suit “needlessly inflated the potential prejudgment interest sum”);

                                       -6-                      Case No. 2:16-cv-3714-GW-AGRx
                                    DEFENDANTS’ OPPOSITION TO CALTECH’S POST-TRIAL MOTION
Case 2:16-cv-03714-GW-AGR Document 2179 Filed 04/30/20 Page 15 of 44 Page ID
                                #:143113
        REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED UNDER SEAL
  1   Kaneka Corp. v. SKC Kolon PI, Inc., 198 F. Supp. 3d 1089, 1124 (C.D. Cal. 2016)
  2   (denying pre-judgment interest where “delay resulted in prejudice to Defendants”).
  3       Further, even if the Court decides to award pre-judgment interest, it should use
  4   the average 52-week U.S. Treasury Bill rate, instead of the prime rate urged by
  5   Caltech. Mot. at 6-8. Although the Federal Circuit has approved both rates in certain
  6   contexts, “the T-Bill rate should be used as a baseline investment rate, absent
  7   evidence that the patent holder is entitled to a better rate, either because it had to
  8   borrow at a higher rate to cover the lost funds, or because it would have invested at
  9   a better rate.” Mars, Inc. v. Coin Acceptors, Inc., 513 F. Supp. 2d 128, 132-33, 136
 10   (D.N.J. 2007).
 11       Here, the T-Bill rate is better suited because “there [is] no evidence … that there
 12   was a causal connection between any borrowing and the loss of the use of the money
 13   awarded as a result of [alleged] infringement.” Laitram Corp. v. NEC Corp., 115
 14   F.3d 947, 955 (Fed. Cir. 1997); Mars, 513 F. Supp. 2d at 136-37 (applying “T-Bill
 15   rate as the measure of prejudgment interest” because that rate (1) is “a baseline
 16   investment rate,” (2) “permits the Court to avoid the speculation involved with
 17   determining whether possibly higher-yielding, but riskier, investments would have
 18   been successful for the patent holder,” and (3) “is the statutorily prescribed measure
 19   for post-judgment interest”).
 20       Caltech asserts that the prime rate is justified because it “was forced to engage
 21   in years of costly and highly contentious litigation against Defendants.” Mot. at 7.
 22   But it cites no authority using the prime rate based on these considerations. Caltech
 23   also states that “Apple itself has advocated for use of the prime rate to calculate
 24   prejudgment interest in patent cases,” Mot. at 7, but neglects to mention that Apple’s
 25   requests were denied and the court instead used the T-Bill rate, see Apple, 67 F.
 26   Supp. 3d at 1121-22; Apple, 926 F. Supp. 2d at 1107-08.
 27       Caltech also contends that the prime rate is warranted because it “is lower than
 28   the interest rate on Caltech’s taxable bonds obtained during the damages period.”

                                         -7-                      Case No. 2:16-cv-3714-GW-AGRx
                                      DEFENDANTS’ OPPOSITION TO CALTECH’S POST-TRIAL MOTION
Case 2:16-cv-03714-GW-AGR Document 2179 Filed 04/30/20 Page 16 of 44 Page ID
                                #:143114
        REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED UNDER SEAL
  1   Mot. at 8. But Caltech failed to show that it borrowed money because it lacked
  2   access to money resulting from Defendants’ alleged infringement. See Laitram, 115
  3   F.3d at 955 (holding patentee must show “a causal connection between any
  4   borrowing and the loss of the use of the money awarded as a result of [the]
  5   infringement”); Apple, 926 F. Supp. 2d at 1107 (holding T-Bill rate appropriate for
  6   pre-judgment interest where no evidence patentee “borrowed any money because it
  7   was deprived of the damages award”); Conceptus, 2012 WL 44064, at *4 (rejecting
  8   debt-based pre-judgment interest rate because patentee’s debt was “unrelated to
  9   infringement”).
 10        Caltech also argues that the prime rate is warranted because it “earned interest
 11   on its endowment over the damages period at an average annual rate of return of
 12   6.9%.” Mot. at 8. But Caltech presents no evidence that it would have invested any
 13   damages received from this case to earn that rate (e.g., rather than fund programs).
 14   Caltech’s mere speculation on this issue is insufficient to show “whether possibly
 15   higher-yielding, but riskier, investments would have been successful” if Caltech had
 16   access to the damages award. See Mars, 513 F. Supp. 2d at 132-33, 136-37.
 17        Therefore, if the Court reaches Caltech’s request for pre-judgment interest now,
 18   that request should be denied, or at least be based on the T-Bill rate.
 19   V.    CALTECH’S INJUNCTION REQUEST SHOULD BE DENIED.
 20         In a cursory, less-than-two-page argument, Caltech demands the extreme
 21   remedy of “an injunction against the future sales of the accused products and any
 22   products that are not colorably different.” Mot. at 11. No injunction should enter
 23   because Defendants are entitled to judgment of no infringement (or, alternatively, a
 24   new trial) for the reasons explained in their post-trial motion. Dkt. 2160-1 at 1-4,
 25   19-28. In addition, Caltech waived any right to seek an injunction by failing to
 26   request one in its pretrial order submissions. Dkt. 1664-1 at 3 (only seeking remedy
 27   of “a reasonable royalty”). See S. Cal. Retail Clerks Union, 728 F.2d at 1264.
 28         Caltech’s injunction request also fails on the merits—given that Caltech has

                                        -8-                      Case No. 2:16-cv-3714-GW-AGRx
                                     DEFENDANTS’ OPPOSITION TO CALTECH’S POST-TRIAL MOTION
Case 2:16-cv-03714-GW-AGR Document 2179 Filed 04/30/20 Page 17 of 44 Page ID
                                #:143115
        REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED UNDER SEAL
  1   not, and cannot, even come close to meeting the requirements for injunctive relief:
  2           [A] plaintiff seeking a permanent injunction “must demonstrate: (1)
              that it has suffered an irreparable injury; (2) that remedies available
  3
              at law, such as monetary damages, are inadequate to compensate for
  4           that injury; (3) that, considering the balance of hardships between the
              plaintiff and defendant, a remedy in equity is warranted; and (4) that
  5
              the public interest would not be disserved by a permanent injunction.
  6
      Apple Inc. v. Samsung Elecs. Co., 735 F.3d 1352, 1359 (Fed. Cir. 2013) (“Apple
  7
      III”) (quoting eBay v. MercExchange, LLC, 547 U.S. 388, 391 (2006)); see
  8
      Monsanto Co. v. Geerston Seed Farms, 561 U.S. 139, 165 (2010) (“An injunction
  9
      is a drastic and extraordinary remedy, which should not be granted as a matter of
 10
      course.”).
 11
            A.     Caltech Will Not Suffer Irreparable Harm, And Money Damages
 12                Are More Than Adequate Compensation In Any Event.
 13         To secure injunctive relief, Caltech must prove “a likelihood of substantial
 14   and immediate irreparable injury.” Apple Inc. v. Samsung Elecs. Co., 678 F.3d 1314,
 15   1325 (Fed. Cir. 2012) (“Apple I”) (quoting Winter v. Natural Res. Def. Council, Inc.,
 16   555 U.S. 7, 22 (2008)). A harm is “irreparable” only if it cannot be addressed with
 17   monetary relief. Celsis In Vitro, Inc. v. CellzDirect, Inc., 664 F.3d 922, 930 (Fed.
 18   Cir. 2012) (“[T]he irreparable harm inquiry seeks to measure harms that no damages
 19   payment, however great, could address.”).
 20         Here, Caltech has not established—and cannot establish—the existence of
 21   any irreparable harm for several key reasons.
 22         First, Caltech does not claim to practice its own asserted patents or to compete
 23   with Defendants in any way—because it does not. 1/21 (PM) Tr. 63:8-25, 65:2-5
 24   (“[W]e don’t make products.”); Dkt. 1217-1 at 1 (“Caltech has not made or sold any
 25   product that practices the Patents-in-Suit.”). These undisputed facts alone strongly
 26   favor denying injunctive relief. See Nichia Corp. v. Everlight Am., Inc., 855 F.3d
 27   1328, 1342 (Fed. Cir. 2017) (affirming no injunction, in part, based on “absence of
 28   actual competition”); ActiveVideo Networks, Inc. v. Verizon Commc’ns, Inc., 694
                                       -9-                      Case No. 2:16-cv-3714-GW-AGRx
                                    DEFENDANTS’ OPPOSITION TO CALTECH’S POST-TRIAL MOTION
Case 2:16-cv-03714-GW-AGR Document 2179 Filed 04/30/20 Page 18 of 44 Page ID
                                #:143116
        REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED UNDER SEAL
  1   F.3d 1312, 1339-40 (Fed. Cir. 2012) (reversing injunction grant, in part, because
  2   parties “do not compete”); Bianco v. Globus Med., Inc., 2014 WL 1049067, at *5
  3   (E.D. Tex. Mar. 17, 2014) (Bryson, J.) (“[W]ith only a few exceptions, courts have
  4   denied injunctive relief in cases in which the patentee does not practice the patent
  5   and compete with the alleged infringer.”).
  6         Second, none of Caltech’s alleged injuries constitute harm that is irreparable.
  7   For example, Caltech asserts Defendants’ “unlicensed use of its inventions” has
  8   deprived Caltech of “royalties” that can be “reinvested in research and education.”
  9   Mot. at 11. But lost royalties are completely and quintessentially reparable with
 10   money damages. Caltech further relies on abstract speculation that, without an
 11   injunction, some unidentified entities might be less willing to license the asserted
 12   Caltech patents. Mot. at 12. But again, Caltech’s willingness to
 13                                                                                      —
 14   confirms that any “lost” licensing opportunities are not irreparable because they can
 15   be compensated with money. 1/21 (PM) Tr. 63:8-25, 65:2-5. See ActiveVideo, 694
 16   F.3d at 1339-40 (vacating injunction where patentee “sought to broadly and
 17   extensively license” because “[s]traight-forward monetary harm of this type is not
 18   irreparable harm”).
 19         Caltech further speculates (again, without evidence) that (1) the lack of an
 20   injunction might cause other entities to be “dissuaded from taking a license” and
 21   “encouraged to continue their infringement,” and (2) if “Caltech is forced to again
 22   litigate to enforce its patent rights, more money is diverted away.” Mot. at 12. But
 23   weakened bargaining leverage is not irreparable harm, especially when the claimed
 24   harm merely concerns “money.” See BASF Plant Sci., LP v. Commonwealth Sci. &
 25   Indus. Research Org., 2019 WL 8108116, at *19 (E.D. Va. Dec. 23, 2019)
 26   (“[B]argaining leverage is neither an appropriate reason to seek an injunction, nor
 27   an appropriate reason to grant an injunction.”); Hynix Semiconductor, 609 F. Supp.
 28   2d at 966-68, 983 n.29 (denying injunction where patentee’s “motivation in seeking

                                       -10-                     Case No. 2:16-cv-3714-GW-AGRx
                                    DEFENDANTS’ OPPOSITION TO CALTECH’S POST-TRIAL MOTION
Case 2:16-cv-03714-GW-AGR Document 2179 Filed 04/30/20 Page 19 of 44 Page ID
                                #:143117
        REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED UNDER SEAL
  1   an injunction is less about preventing irreparable harm and more about extracting …
  2   leverage in negotiating”).
  3         Nor can Caltech satisfy the irreparable harm requirement based on supposed
  4   risks of future litigation costs to enforce its patents against others. See ActiveVideo,
  5   694 F.3d at 1337 (“[I]t was legal error for the district court to determine [patentee’s]
  6   litigation costs supported irreparable harm and favored granting an injunction.
  7   Litigation costs are undoubtedly undesirable and may take funds away from other
  8   endeavors, but they are not an irreparable harm in the injunction calculus.”).4
  9         Third, the Federal Circuit has repeatedly made clear that if an accused product
 10   contains features beyond those alleged to infringe, no injunction can issue unless a
 11   “causal nexus” exists between the alleged infringement and alleged irreparable
 12   harm. See Apple Inc. v. Samsung Elecs. Co., 809 F.3d 633, 640 (Fed. Cir. 2015)
 13   (“The purpose of the causal nexus requirement is to establish the link between the
 14   infringement and the harm ….”); Apple III, 735 F.3d at 1361 (“[T]he causal nexus
 15   inquiry is indeed part of the irreparable harm calculus: it informs whether the
 16   patentee’s allegations of irreparable harm are pertinent to the injunctive relief
 17   analysis, or whether the patentee seeks to leverage its patent for competitive gain
 18   beyond that which the inventive contribution and value of the patent warrant.”).
 19         Here, however, even though the accused Broadcom chips and Apple products
 20   indisputably contain numerous features not accused of infringement, Caltech does
 21   not even try to argue that a “causal nexus” exists between the accused LDPC
 22   functionality and any harm Caltech claims it will suffer without an injunction; in
 23   fact, its motion does not even mention the causal nexus requirement at all. This
 24   missing proof separately precludes injunctive relief. See Power Integrations, Inc. v.
 25
 26   4
        Caltech vaguely asserts that “the strength of the intellectual property that is
 27   developed by Caltech” helps it compete with other universities. Mot. at 11. But it
      tellingly does not even attempt to explain how any form of relief in this case might
 28
      affect the “strength” of its patents or how it supposedly “competes” with others.
                                        -11-                     Case No. 2:16-cv-3714-GW-AGRx
                                     DEFENDANTS’ OPPOSITION TO CALTECH’S POST-TRIAL MOTION
Case 2:16-cv-03714-GW-AGR Document 2179 Filed 04/30/20 Page 20 of 44 Page ID
                                #:143118
        REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED UNDER SEAL
  1   Fairchild Semiconductor Int’l, Inc., 2015 WL 604582, at *2-5 (N.D. Cal. Feb. 12,
  2   2015) (denying injunction for failure to prove causal nexus existed); EcoServices,
  3   LLC v. Certified Aviation Servs., LLC, 340 F. Supp. 3d 1004, 1025-26 (C.D. Cal.
  4   2018) (similar).
  5         Finally, Caltech waited until 2016 to bring this lawsuit—based on allegations
  6   that Defendants began infringing seven years earlier—and then waited another four
  7   years (until after the jury verdict) to first request an injunction. Dkt. 1 ¶ 29; 1/17
  8   (AM) Tr. 35:3-13. These lengthy delays further undermine any claim of irreparable
  9   harm. See Apple I, 678 F.3d at 1325 (“[D]elay in bringing an infringement action …
 10   suggest[s] that the patentee is not irreparably harmed by the infringement.”).
 11         In sum, Caltech has not identified a valid irreparable harm, much less one
 12   backed with evidence. It is not entitled to injunctive relief for this reason alone.
 13         B.     The Balance of Hardships Favors Broadcom and Apple.
 14         Caltech’s six-line balance-of-hardships discussion fails to identify even a
 15   single alleged hardship to Caltech, and therefore “balances” nothing. Nor is there
 16   any need for the Court to conduct a balancing given that, as discussed above, with
 17   no injunction, Caltech will not suffer any irreparable injury that money cannot fully
 18   compensate—particularly where the parties do not compete. See ActiveVideo, 694
 19   F.3d at 1341 (fact that parties “do not compete in the same market” suggests
 20   balancing of harms does not favor patentee).
 21         Nonetheless, real hardship to Defendants will result if Broadcom is enjoined
 22   from selling its accused chips, and Apple is enjoined from selling its accused
 23   products containing the chips—including for existing inventories of those products.
 24   That resulting harm also would be exacerbated by Caltech’s overbroad and improper
 25   request to enjoin sales of entire Broadcom chips and entire Apple products
 26   containing the chips—based solely on the allegedly infringing nature of the accused
 27   LDPC functionality, which involves just a very small portion of the overall accused
 28   Broadcom chips, and an even smaller portion of the overall accused Apple products.

                                        -12-                     Case No. 2:16-cv-3714-GW-AGRx
                                     DEFENDANTS’ OPPOSITION TO CALTECH’S POST-TRIAL MOTION
Case 2:16-cv-03714-GW-AGR Document 2179 Filed 04/30/20 Page 21 of 44 Page ID
                                #:143119
        REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED UNDER SEAL
  1   1/23 Tr. 117:20-118:8; Dkt. 2026-3 at 83:13-15, 83:17; 1/17 (AM) Tr. 52:18-54:1;
  2   1/21 (AM) Tr. 43:25-44:14; JTX-24.323-24. See Carnegie Mellon Univ. v. Marvell
  3   Tech. Grp., Ltd., 2014 WL 1320154, at *35 (W.D. Pa. Mar. 31, 2014) (holding
  4   balance of hardships favored infringer where “the Accused Chips are multi-feature
  5   products with many non-infringing features and any injunction would bar these non-
  6   infringing features as well as the infringing ones”), rev’d in part on other grounds,
  7   807 F.3d 1283 (Fed. Cir. 2015); Riles v. Shell Exploration & Prod. Co., 298 F.3d
  8   1302, 1311 (Fed. Cir. 2002) (court “must narrowly tailor an injunction to fit the
  9   specific adjudged violations”).5
 10           That result does not change based on Caltech’s cursory argument that any
 11   harm to Defendants can be avoided by a mere “switch” to Broadcom chips (not
 12   accused of infringement)                                                 . Mot. at 12.
 13   Caltech offers no evidence about the current state of                     . Nor does
 14   Caltech identify any evidence suggesting that Apple could quickly or easily “switch”
 15   its existing product designs to incorporate                . The trial record instead
 16   shows
 17
 18                         Dkt. 2026-2 at 82:25-83:6, 84:5-8, 84:10, 84:15-18, 85:1-4,
 19   85:7-9.
 20           Because Caltech would suffer no irreparable harm without an injunction,
 21   while an injunction would have serious harmful implications for Defendants, the
 22   balance of hardships weighs strongly against injunctive relief.
 23           C.    An Injunction Would Be Against the Public Interest.
 24           An injunction also would be against the public interest. The only supposed
 25
 26   5
       Caltech did not submit a proposed form of injunction or otherwise identify any
 27   specific terms for its requested injunctive relief. While no injunction should enter
      at all, if the Court decides to enter one, Defendants reserve the right to address the
 28
      specific scope of any such relief (including if Caltech seeks to enjoin foreign sales).
                                        -13-                     Case No. 2:16-cv-3714-GW-AGRx
                                     DEFENDANTS’ OPPOSITION TO CALTECH’S POST-TRIAL MOTION
Case 2:16-cv-03714-GW-AGR Document 2179 Filed 04/30/20 Page 22 of 44 Page ID
                                #:143120
        REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED UNDER SEAL
  1   public benefit that Caltech identifies is its own “investment in research,” which
  2   Caltech says “leads to the development of new products and processes that greatly
  3   benefit society.” Mot. at 12. But no such benefit occurred here, given that IEEE
  4   developed the accused LDPC functionality without any input from Caltech. 1/16
  5   (AM) Tr. 37:11-18; 1/21 (AM) Tr. 47:18-23. Caltech also notably fails to explain
  6   how an injunction preventing Defendants from selling their accused products (and
  7   those “not colorably different”) would further Caltech’s ability to invest in research
  8   or “benefit society.”
  9         By contrast, barring consumers in the United States from purchasing accused
 10   Broadcom chips and accused Apple iPhones, iPads, and computers containing those
 11   chips (and those not more than colorably different) would cause substantial and
 12   lasting harm to the public—especially by barring consumer access to the thousands
 13   of features in Defendants’ accused products not accused of infringement in this case.
 14   1/23 Tr. 117:20-118:8; Dkt. 2026-3 at 83:13-15, 83:17; 1/17 (AM) Tr. 52:18-54:1;
 15   1/21 (AM) Tr. 43:25-44:14; JTX-24.323-24. See Apple III, 735 F.3d at 1372-73
 16   (“[T]he public interest does not support removing phones from the market when the
 17   infringing components constituted such limited parts of complex, multi-featured
 18   products.”).
 19         Indeed, the Apple accused products (and included accused Broadcom chips)
 20   support numerous widely-used personal health applications (e.g., heart-rate
 21   monitoring, atrial fibrillation detection, and glucose monitoring); are being used
 22   during this public health crisis by governments and health agencies to track and
 23   reduce the spread of COVID-19; and are also used by many first responders,
 24   hospitals, public health and safety agencies, health studies, and physically-disabled
 25   individuals.6 Entry of an injunction also would risk disrupting the operations of a
 26
      6
        E.g., https://www.apple.com/healthcare/ (iPhones used in hospitals, for patient
 27   care at home, and for medical research); https://www.apple.com/researchkit/
 28   (iPhones used in medical research); https://www.apple.com/healthcare/health-
      records/ (iPhones used for health records); https://www.heartline.com/ (study with
                                       -14-                     Case No. 2:16-cv-3714-GW-AGRx
                                    DEFENDANTS’ OPPOSITION TO CALTECH’S POST-TRIAL MOTION
Case 2:16-cv-03714-GW-AGR Document 2179 Filed 04/30/20 Page 23 of 44 Page ID
                                #:143121
        REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED UNDER SEAL
  1   broad array of businesses, schools, healthcare institutions, and state and local
  2   governments that also use the accused products. 7 Finally, an injunction would
  3   threaten U.S. employment, as Broadcom and Apple have thousands of employees in
  4   the United States, and Apple’s iOS and App Store ecosystem have separately created
  5   millions of jobs in the United States.8
  6         At bottom, Caltech’s half-hearted request for an injunction is meritless.
  7   Caltech makes no products, does not compete with Defendants, and is willing to
  8   license (                       ) the asserted patents in return for money—facts that
  9   alone warrant the denial of any injunctive relief. But here, the record is even more
 10   overwhelming against the entry of an injunction given that: (1) Caltech has failed to
 11   identify any harm that could be deemed irreparable, or even attempt to explain how
 12   it can satisfy the mandatory casual nexus element; (2) Caltech’s alleged harms
 13   actually demonstrate the adequacy of monetary damages; (3) a balancing of harms
 14   analysis tilts drastically against any award of injunctive relief; and (4) Caltech
 15
 16
      Johnson           &         Johnson          on         Afib           detection);
 17   https://www.apple.com/covid19/contacttracing (documentation for an Exposure
 18   Notification system in service of privacy preserving contact tracing, including a
      preliminary     Bluetooth     Specification    for    Exposure      Notification);
 19   https://www.apple.com/accessibility/ (accessibility features for disabled);
 20   https://www.broadcom.com/case-studies (listing “customer success” examples); Ex.
      1 (explaining that Apple’s devices are uniquely user friendly to the blind and
 21   visually impaired community).
      7
 22      E.g., https://www.apple.com/business/success-stories/ (describing real-life
      examples of customers whose businesses have been transformed by Apple devices);
 23
      Ex. 2 (explaining that distributing Apple iPads to students and parking Wi-Fi
 24   enabled buses in the district has transformed student learning and engagement);
 25
 26
      8
 27    E.g., https://www.apple.com/job-creation/ (explaining that Apple, either through
      direct employment or through its suppliers and app developers, is responsible for
 28   more than two million U.S. jobs).
                                        -15-                     Case No. 2:16-cv-3714-GW-AGRx
                                     DEFENDANTS’ OPPOSITION TO CALTECH’S POST-TRIAL MOTION
Case 2:16-cv-03714-GW-AGR Document 2179 Filed 04/30/20 Page 24 of 44 Page ID
                                #:143122
        REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED UNDER SEAL
  1   cannot articulate any legitimate basis to justify the serious harm to the public interest
  2   that would result if the accused products suddenly become unavailable.
  3   VI.   CALTECH’S ONGOING ROYALTY REQUEST SHOULD BE
            DENIED.
  4
            “There are several types of relief for ongoing infringement that a court can
  5
      consider,” including “exercis[ing] its discretion to conclude that no forward-looking
  6
      relief is appropriate in the circumstances.” Whitserve, LLC v. Comput. Packages,
  7
      Inc., 694 F.3d 10, 35 (Fed. Cir. 2012); Paice LLC v. Toyota Motor Corp., 504 F.3d
  8
      1293, 1314-15 (Fed. Cir. 2007) (confirming ongoing royalty is not available “as a
  9
      matter of course”); XpertUniverse, Inc. v. Cisco Sys., Inc., 2013 WL 6118447, at
 10
      *14 (D. Del. Nov. 20, 2013) (“[I]t is within the court’s equitable discretion to
 11
      determine whether an ongoing royalty need be imposed.”).9
 12
            A.     The Court Should Defer or Deny Caltech’s Request For An
 13                Ongoing Royalty.
 14         As discussed in Section II, the Court should defer a decision on any ongoing
 15   royalties until after any appeals. But if the Court reaches the issue now, it should
 16   deny that request because: (1) Caltech waived it by failing to request an ongoing
 17   royalty remedy in the joint proposed pretrial order (Dkt. 1664-1), see S. Cal. Retail
 18   Clerks Union, 728 F.2d at 1264; (2) Caltech is not entitled to any damages—both
 19   because the jury had no proper basis to find infringement and Caltech offered no
 20   valid and factually supported damages theory at trial, Dkt. 2160-1 at 1-28; and (3)
 21   the jury’s already-exorbitant damages award is more than adequate compensation
 22   for Defendants’ alleged infringement
 23         B.     Alternatively, Caltech’s Requested Ongoing Royalty Scheme
 24                Should Be Rejected.
 25         If the Court addresses ongoing royalties now, it should reject Caltech’s

 26   request for “ongoing royalties at two times the rates determined by the jury,” Mot.

 27
      9
        For these reasons, Caltech is wrong to contend that, in all cases, “[o]ngoing
 28
      royalties are necessary in the absence of an injunction ….” Mot. at 13.
                                         -16-                     Case No. 2:16-cv-3714-GW-AGRx
                                      DEFENDANTS’ OPPOSITION TO CALTECH’S POST-TRIAL MOTION
Case 2:16-cv-03714-GW-AGR Document 2179 Filed 04/30/20 Page 25 of 44 Page ID
                                #:143123
        REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED UNDER SEAL
  1   at 20—which would impose a penalty so massive that the rate for Apple ($2.80)
  2   alone would
  3
  4                                                 Dkt. 1779-6 ¶ 225.
  5         Specifically, to determine an ongoing royalty rate, courts often “look[] to the
  6   jury’s verdict as the ‘starting point.’” Bianco v. Globus Med., Inc., 53 F. Supp. 3d
  7   929, 933 (E.D. Tex. 2014) (Bryson, J.); Soverain Software LLC v. J.C. Penney
  8   Corp., 899 F. Supp. 2d 574, 589 (E.D. Tex. 2012) (“The jury’s implied royalty rate
  9   provides a starting point for determining the ongoing post-judgment royalty rate.”),
 10   rev’d on other grounds, 778 F.3d 1311 (Fed. Cir. 2015). Here, the jury adopted per
 11   unit royalty rates of $0.26 for Broadcom and $1.40 for Apple. As explained in
 12   Defendants’ post-trial motion, however, the source of those rates was Caltech’s
 13   legally improper and factually unsupported damages theory—which wrongly
 14   applied two very different rates based on infringement allegations directed to the
 15   same accused functionality in Broadcom chips, and despite
 16             —which violated a proper hypothetical negotiation construct, the doctrine
 17   of patent exhaustion, the principle that royalties must be based on the smallest
 18   salable patent-practicing unit, and common sense. Dkt. 2160-1 at 5-11.
 19         The same host of errors would exist if Caltech’s two-license approach were
 20   applied in an ongoing royalty context, including because
 21
 22                                                                       As a result, if the
 23   Court upholds the jury’s infringement verdict and damages award, and also awards
 24   ongoing royalties, it should at most apply whatever single rate the Court applies to
 25   the Broadcom products that the jury found to infringe at trial. It would make no
 26   legal or practical sense to apply different royalty rates based on the same accused
 27   functionality found in the same accused Broadcom chips. Dkt. 2160-1 at 5-11.
 28         Caltech raises several arguments in support of its request to double the jury’s

                                       -17-                     Case No. 2:16-cv-3714-GW-AGRx
                                    DEFENDANTS’ OPPOSITION TO CALTECH’S POST-TRIAL MOTION
Case 2:16-cv-03714-GW-AGR Document 2179 Filed 04/30/20 Page 26 of 44 Page ID
                                #:143124
        REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED UNDER SEAL
  1   per-unit rates, none of which has merit.
  2         First, Caltech cites as “changed circumstances” (1) the “great[] increase[]”
  3   over the past ten years of “the established profitability of the accused products, their
  4   commercial success, and their popularity” and “the extent of Defendants’ use of the
  5   patented inventions”; (2) that “the utility and advantages of the patented invention
  6   over old modes has been more firmly established since December 2009”; and (3)
  7   that “Caltech’s bargaining position post-verdict … has been substantially
  8   strengthened by the jury’s findings on infringement and damages.” Mot. at 16-18.
  9         But none of these allegations constitute changed circumstances that the jury
 10   did not already consider when awarding damages—and certainly none justifies
 11   doubling the jury’s damages rate. See St. Lawrence Commc’n LLC v. Motorola
 12   Mobility LLC, 2017 WL 6268735, at *4 (E.D. Tex. Dec. 8, 2017) (“[T]he Court is
 13   not persuaded that the facts relied on by the Parties reflect circumstances not already
 14   considered by the jury,” “including ‘information about the success of the
 15   products.’”); Cioffi v. Google, Inc., 2017 WL 4011143, at *6-7 (E.D. Tex. Sept. 12,
 16   2017) (“The relative importance of the patented technology, both from Google’s
 17   perspective and from its users’ perspective, has already been considered by the jury
 18   and has been incorporated into the jury’s implied rate.”); Cummins-Allison Corp. v.
 19   SBM Co., 584 F. Supp. 2d 916, 918 (E.D. Tex. 2008) (“Naturally, a successful
 20   Plaintiff wants to argue that ‘everything has changed.’ This conveniently ignores
 21   the fact that even a minimally competent damages expert will have included in pre-
 22   trial calculations every advantageous change in profits, sales, and other conditions
 23   that occurred prior to trial under the ‘book of wisdom’ rubric.”).10
 24
      10
         Caltech’s attempt to ratchet up the jury’s per-unit rates based on claims of changed
 25   circumstances also fails because Caltech has not even suggested that these
 26   “changes” were attributable to Defendants’ alleged infringement. See Cioffi, 2017
      WL 4011143, at *7 (holding although changed circumstances “could theoretically
 27   favor a higher ongoing royalty rate, the evidence of causation is insufficient to
 28   warrant a higher royalty rate”); EMC Corp. v. Zerto, Inc., 2017 WL 3434212, at *4
      (D. Del. Aug. 10, 2017) (rejecting higher royalty based on growth of competitor
                                        -18-                     Case No. 2:16-cv-3714-GW-AGRx
                                     DEFENDANTS’ OPPOSITION TO CALTECH’S POST-TRIAL MOTION
Case 2:16-cv-03714-GW-AGR Document 2179 Filed 04/30/20 Page 27 of 44 Page ID
                                #:143125
        REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED UNDER SEAL
  1         Indeed, Dr. Teece admitted in his expert reports that
  2
  3
  4
  5                             Dkt. 1250-2 ¶¶ 417-18, 425-26, 432.        Caltech has not
  6   identified any changed revenue, use, or advantages that were not (or could not have
  7   been) presented to the jury as part of Caltech’s trial damages case. In fact, Caltech’s
  8   motion itself explicitly relies on “changes” from many years ago—i.e., “[b]y 2012,”
  9   “since December 2009,”                           and “over 10 years.” Mot. at 16.11
 10         Second, Caltech argues that doubling the jury’s per-unit rate is needed
 11   because Caltech’s post-verdict bargaining position is “substantially strengthened”
 12   now that Defendants’ infringement is no longer in dispute. Mot. at 17. But that
 13   purported post-trial “change” is no change at all given (1) Dr. Teece’s trial testimony
 14   that, for the 2009 hypothetical negotiation, there would have been “perfect certainty”
 15   that Caltech’s patents were infringed, 1/22 (PM) Tr. 100:4-11, and (2) the Court’s
 16   instruction that, for the hypothetical negotiation, the jury “must … assume that both
 17   parties believed the patent was valid and infringed,” Dkt. 2112 at 14. Indeed, Dr.
 18   Teece even used a presumption of infringement as a basis to upward adjust rates.
 19   1/22 (PM) Tr. 151:19-23, 163:7-8; 1/23 Tr. 14:25-15:3; see Dkt. 2160-1 at 12-18.
 20         There is no legitimate basis for Caltech to repackage an argument that the jury
 21   already considered—and Dr. Teece already used to justify and then increase his
 22
 23   because “bald [growth] assertion does nothing to demonstrate how Zerto’s success
      as a company could be attributed to the profitability of the patented features”).
 24   11
         Caltech dismisses Broadcom’s                                 —which Caltech did
 25   not accuse at trial—based on claims that “Defendants offered no evidence that this
      alternative has been implemented in any Apple products ….” Mot. at 16-17. This
 26
      ongoing royalty argument conflicts with Caltech’s injunction argument (discussed
 27   above) that Defendants could easily and quickly shift to                 . But in any
      event, “the ability for a defendant to switch to a non-infringing alternative actually
 28
      weighs against a higher royalty rate.” Cioffi, 2017 WL 4011143, at *7.
                                        -19-                     Case No. 2:16-cv-3714-GW-AGRx
                                     DEFENDANTS’ OPPOSITION TO CALTECH’S POST-TRIAL MOTION
Case 2:16-cv-03714-GW-AGR Document 2179 Filed 04/30/20 Page 28 of 44 Page ID
                                #:143126
        REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED UNDER SEAL
  1   per-unit rates offered at trial—as a supposed post-verdict “changed” circumstance
  2   that justifies an added 100% increase. See Ariba, Inc. v. Emptoris, Inc., 567 F. Supp.
  3   2d 914, 918 (E.D. Tex. 2008) (“[I]t is logically inconsistent to argue that a
  4   calculation based upon assumptions of infringement and validity would change
  5   when those assumptions are replaced by jury findings of the same facts.”); Univ. of
  6   Pittsburgh v. Varian Med. Sys., Inc., 2012 WL 1436569, at *11 (W.D. Pa. Apr. 25,
  7   2012) (rejecting changed circumstances argument seeking higher ongoing royalty
  8   than set by the jury because “[t]he jury was instructed to assume … that the
  9   [asserted] patent was valid and was being infringed”).12
 10         Third, Caltech attempts to support its attempted rate doubling based on a
 11   claim “that Defendants’ infringement is now willful” after the jury verdict. Mot. at
 12   17-19. However, the jury found that Defendants’ conduct was not willful, and
 13   willfulness does not necessarily follow from an infringement verdict—particularly
 14   where, as here, the parties do not directly compete. Vectura Ltd. v. GlaxoSmithKline
 15   LLC, 2019 WL 4346502, at *8 (D. Del. Sept. 12, 2019) (“[W]illfulness is not an
 16   appropriate ground to enhance an ongoing royalty rate where the plaintiff is a non-
 17   competitor who benefits from the defendant’s ongoing infringement.”); Cioffi, 2017
 18   WL 4011143, at *7-9 (finding “willfulness” irrelevant for ongoing royalty analysis);
 19   EMC Corp. v. Zerto, Inc., 2017 WL 3434212, at *5 (D. Del. Aug. 10, 2017) (finding
 20   no ongoing royalties based on willful infringement theory because it is “improper”
 21   to consider willfulness “where the court already decided that the equities did not
 22   weigh in favor of granting EMC an injunction”). Moreover, even under a willfulness
 23   theory, there would be no basis for the Court to enhance because there is no evidence
 24   or allegation that Defendants’ conduct is “willful, wanton, malicious, bad-faith,
 25
      12
        If anything, the cited presumption further undermines Caltech’s two-hypothetical
 26
      negotiation model and confirms there should be just one rate for all accused
 27   products—because Dr. Teece’s purported reason for ignoring
                              at trial was that it “assumes infringement[,] [a]nd in the
 28
      hypothetical negotiation there isn’t infringement.” 1/23 Tr. 58:24-59:10, 97:17-23.
                                       -20-                     Case No. 2:16-cv-3714-GW-AGRx
                                    DEFENDANTS’ OPPOSITION TO CALTECH’S POST-TRIAL MOTION
Case 2:16-cv-03714-GW-AGR Document 2179 Filed 04/30/20 Page 29 of 44 Page ID
                                #:143127
        REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED UNDER SEAL
  1   deliberate, consciously wrongful, flagrant, or—indeed—characteristic of a pirate.”
  2   See Halo Elecs., Inc. v. Pulse Elecs., Inc., 136 S. Ct. 1923, 1932 (2016).
  3         Finally, Caltech contends that upward enhancement is required under the
  4   factors set forth in Read Corp. v. Portec, Inc., 970 F.2d 816, 827 (Fed. Cir. 1992).
  5   It is unnecessary for the Court to apply the Read factors because there is no willful
  6   infringement. See Halo, 136 S. Ct. at 1932; Cioffi, 2017 WL 4011143, at *8; EMC,
  7   2017 WL 3434212, at *5. But even under Read, Caltech is wrong to assert that
  8   “factors 1 and 8-9 are neutral, but factors 2-7 each favor enhancement of the royalty
  9   rates,” Mot. at 19-20—because none of the factors favors enhancement here.
 10         Factor 1: Read factor one (deliberate copying) weighs against enhancement
 11   because no evidence of copying was presented to the jury. The record instead shows
 12   that the IEEE 802.11 standard-setting organizations developed the accused
 13   functionality, and Broadcom developed the accused chips, without any participation
 14   by Caltech. 1/23 Tr. 127:4-21, 131:8-132:7, 132:16-20, 133:2-21, 135:24-138:20,
 15   185:8-20, 186:15-191:24, 194:4-7, 199:21-201:1, 206:10-207:16, 208:21-212:9;
 16   1/16 (AM) Tr. 37:11-18; 1/21 (AM) Tr. 47:18-23.
 17         Factors 2 and 5: For Read factors two (knowledge of patents and belief in
 18   noninfringement and/or invalidity) and five (closeness of case), Defendants offered
 19   significant evidence of their good-faith belief of noninfringement, including trial
 20   testimony from Drs. Blanksby and Stark. And Defendants’ post-trial motion at least
 21   demonstrates a close case, Dkt. 2160-1 at 1-4, 20-30—as further confirmed by
 22   Caltech’s failure to secure (or even request) a preliminary injunction and/or to fully
 23   prevail on summary judgment before trial. These factors cut against enhancement.
 24         Factor 3: As discussed in Section VII below, Defendants did not engage in
 25   litigation misconduct. Therefore, Read factor three (infringer’s litigation behavior)
 26   weighs against enhancement.
 27         Factor 4: For Read factor four (infringer’s size and financial condition),
 28   Caltech points to Defendants’ “tremendous size and wealth,” Mot. at 19—but

                                       -21-                     Case No. 2:16-cv-3714-GW-AGRx
                                    DEFENDANTS’ OPPOSITION TO CALTECH’S POST-TRIAL MOTION
Case 2:16-cv-03714-GW-AGR Document 2179 Filed 04/30/20 Page 30 of 44 Page ID
                                #:143128
        REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED UNDER SEAL
  1   without alleging that their size and wealth have anything to do with Caltech.
  2   Defendants were successful long before the alleged infringement, and no evidence
  3   attributes that success to the accused LDPC functionality. Caltech also claims a
  4   “disparity in size and wealth,” id., but neglects to mention that it has an endowment
  5   of nearly $3 billion.13 Thus, this factor does not merit enhancement.
  6         Factors 6 and 7: Caltech argues that Read factors six (duration of Defendants’
  7   accused conduct) and seven (remedial measures taken) justify enhancement, Mot. at
  8   20, but the opposite is true. That a decade of allegedly infringing conduct was at
  9   issue in this case stemmed directly from Caltech’s failure to accuse Defendants of
 10   infringement for more than seven years after the accused conduct first began. And
 11   Dr. Blanksby’s unrefuted trial testimony established that Broadcom has developed
 12   and is implementing                      “in the next generation of WiFi chips.” 1/24
 13   (AM) Tr. 26:4-27:2. Therefore, these factors do not justify enhancement.
 14         Factors 8 and 9: Caltech offered no evidence that Defendants were motivated
 15   to harm (factor eight) or attempted to conceal their conduct (factor nine). Thus, both
 16   factors weigh against enhancement.
 17         Therefore, neither changed circumstances nor the Read factors warrant
 18   Caltech’s request to double the flawed royalty rates that the jury applied.
 19   VII. CALTECH’S ATTORNEYS’ FEES REQUEST SHOULD BE DENIED.
 20         Attorneys’ fees may be awarded only “in the rare case in which a party’s
 21   unreasonable conduct” is “exceptional” because the litigation “present[s] either
 22   subjective bad faith or exceptionally meritless claims [that] sufficiently set[s] itself
 23   apart from mine-run cases.” Octane Fitness, LLC v. ICON Health & Fitness, Inc.,
 24   572 U.S. 545, 554-55 (2014); see Stragent, LLC v. Intel Corp., 2014 WL 6756304,
 25   at *3 (E.D. Tex. Aug. 6, 2014) (Dyk, J.) (“[A]wards of attorney’s fees [under
 26   Octane] in patent cases should be reserved for rare and unusual circumstances.”).
 27
      13
        Caltech Endowment Report Fiscal Year 2018, http://investments.caltech.edu/
 28   documents/353-caltech_endowment_brochure_fy18-d02_hires_pages.pdf.
                                        -22-                     Case No. 2:16-cv-3714-GW-AGRx
                                     DEFENDANTS’ OPPOSITION TO CALTECH’S POST-TRIAL MOTION
Case 2:16-cv-03714-GW-AGR Document 2179 Filed 04/30/20 Page 31 of 44 Page ID
                                #:143129
        REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED UNDER SEAL
  1   This is not such a case.14
  2         Rather, during summary judgment, the Court cast this case as “incredibly
  3   litigious”—but on both sides. Dkt. 1099 at 2 (noting “the incredibly litigious nature
  4   of this case has put the parties (and the Court) in a ‘trust no one’ state of mind,” and
  5   expressing “frustration with the parties’ litigation tactics”). And even closer to trial
  6   the Court stated that, while “litigation tactics by one or both parties have led the
  7   Court to make a comment regarding fees, the overall circumstances surrounding
  8   the prosecution of this case should not lead either party to expect them.” Dkt.
  9   1214 at 2 n.1 (“[T]he Court warns that the chances of a successful request for fees
 10   under 35 U.S.C. § 285 will be low.”).
 11         Nothing in Caltech’s motion requires a different conclusion now, just because
 12   the jury has since found in Caltech’s favor. To the contrary, when viewed in full
 13   context—which Caltech selectively ignores—the record confirms that there is no
 14   legitimate basis to award fees because Defendants have acted reasonably and
 15   professionally throughout this hard-fought litigation. See Univ. of Utah v. Max-
 16   Planck-Gesellschaft zur Foerderung der Wissenschaften, 851 F.3d 1317, 1323 (Fed.
 17   Cir. 2017) (affirming fee denial despite infringer’s “weak” case because arguments
 18   were not “objectively unreasonable”); Core Wireless Licensing S.A.R.L. v. LG
 19   Elecs., Inc., 2020 WL 1478396, at *4 (E.D. Tex. Mar. 26, 2020) (holding awarding
 20   fees just for “losing a hard-fought and contentious trial” would “eviscerate the
 21   longstanding ‘American rule’ against fee-shifting”); Lubby Holdings, LLC v. Chung,
 22   2019 WL 4284509, at *2 (C.D. Cal. June 27, 2019) (“For a case to stand out under
 23   the Octane standard, a party’s litigating position must be objectively meritless rather
 24
 25   14
         Fees must also be denied because Caltech “failed to prove that its claimed fees …
 26   are reasonable”; in fact, Caltech failed to identify what fees it even seeks. Sociedad
      Espanola de Electromedicina, S.A. v. Blue Ridge X-Ray Co., 226 F. Supp. 3d 520,
 27   533-34 (W.D.N.C. 2016) (holding “the Court need not determine whether the case
 28   is exceptional” under § 285 because party failed to support its request with affidavits
      establishing fees), aff’d, 721 F. App’x 989 (Fed. Cir. 2018).
                                        -23-                     Case No. 2:16-cv-3714-GW-AGRx
                                     DEFENDANTS’ OPPOSITION TO CALTECH’S POST-TRIAL MOTION
Case 2:16-cv-03714-GW-AGR Document 2179 Filed 04/30/20 Page 32 of 44 Page ID
                                #:143130
        REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED UNDER SEAL
  1   than merely unpersuasive.”); Stragent, 2014 WL 6756304, at *3 (rejecting fees
  2   “primarily based on the fact that [party] made losing arguments”).15
  3         A.     Caltech Has Not Identified Any Unreasonable Discovery Conduct
                   That Could Serve As The Basis For A Fees Award.
  4
            Caltech tries to paint this case as a completely one-sided affair in which
  5
      Defendants knew that they would not prevail at trial, and thus sought to preclude
  6
      Caltech from securing relevant discovery at every turn. Mot. at 21-34. This is
  7
      untrue.    During discovery, Defendants (1) produced three million pages of
  8
      documents, including sensitive technical materials, financial information, and
  9
      source code; (2) provided thousands of pages of written discovery responses; and
 10
      (3) made nearly thirty witnesses available for deposition. In so doing, neither
 11
      Defendant was sanctioned, held in contempt, or otherwise punished for discovery
 12
      abuses—because there were none.16 This record does not support a claim for fees;
 13
      instead, it confirms that Defendants provided Caltech with a full and fair opportunity
 14
      to discover the facts needed to prepare for trial.
 15
            Ignoring this history, Caltech’s motion focuses on three isolated discovery
 16
      issues, none of which supports an award of attorneys’ fees.
 17
            First, Caltech alleges that Defendants wrongfully “refused to produce” third-
 18
      party documents from the Wi-Fi Alliance. Mot. at 25-26. In making that argument,
 19
 20
      15
        Caltech misleadingly states that this District has twice awarded fees under “facts
 21
      similar to those present here.” Mot. at 22. Unlike here, the Tannas defendants were
 22   sanctioned, “held in contempt, stalled discovery, created a conflicting factual record,
 23   failed to appear in court on several occasions, and habitually submitted untimely or
      procedurally non-compliant papers.” Tannas v. Multichip Display, Inc., 2018 WL
 24   1033219, at *4 (C.D. Cal. Feb. 21, 2018). And in Munchkin, the court gave “great
 25   weight” to the patent owner’s awareness of the “substantive weakness” of its own
      patent, including for failing to disclose prior art during prosecution—facts not close
 26   to those at issue here. Munchkin, Inc. v. Luv N’ Care, Ltd., 2018 WL 7504404, at
 27   *5-6 (C.D. Cal. Dec. 27, 2018).
      16
        Caltech filed seven motions to compel discovery, but the Court completely denied
 28
      four of them (Dkts. 273, 451, 595, 510), and denied two in-part (Dkts. 142, 419).
                                        -24-                     Case No. 2:16-cv-3714-GW-AGRx
                                     DEFENDANTS’ OPPOSITION TO CALTECH’S POST-TRIAL MOTION
Case 2:16-cv-03714-GW-AGR Document 2179 Filed 04/30/20 Page 33 of 44 Page ID
                                #:143131
        REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED UNDER SEAL
  1   however, Caltech neglects to mention that it directly subpoenaed the Wi-Fi Alliance,
  2   and never moved to compel when the Wi-Fi Alliance failed to produce responsive
  3   documents before fact discovery closed. Dkts. 563-1 at 2, 563-3. Caltech also
  4   ignores that, when it later sought to compel Defendants to locate/produce Wi-Fi
  5   Alliance documents, Judge Rosenberg denied that request. Dkt. 563-5 at 40:20-23
  6   (“[T]he question [before] me today is just whether the defendants can be required to
  7   produce [the] information of a third party, and I think under the case law the answer
  8   is no.”). Caltech cannot properly demand fees based on the non-production of
  9   documents that occurred in compliance with a ruling from this Court.
 10         Caltech further complains that, when it later obtained and produced Wi-Fi
 11   Alliance documents on its own (long after the close of fact discovery), Defendants
 12   “sought to bar” a deposition of the Wi-Fi Alliance. Mot. at 25. But the Wi-Fi
 13   Alliance itself objected to that deposition. Dkt. 563-1 at 3-4. And although the
 14   Court allowed the deposition to proceed, it permitted just two hours of questioning
 15   and criticized Caltech for its handling of the issue. Dkt. 673 at 5-6 (“Plaintiff could
 16   have been more forthcoming … regarding its correspondence with WFA and its
 17   intent to subsequently take WFA’s deposition.”). Caltech also complains about the
 18   number of objections asserted at the deposition; but once questioning established
 19   that the Wi-Fi Alliance witness
 20                Dkt. 2168-8 at 20:13-22:22, including for the document cited in
 21   Caltech’s motion, id. at 34:18-21, 35:23-37:8 (testifying he was
 22                                                                 ), Defendants properly
 23   objected.
 24         Caltech also suggests that Defendants somehow acted improperly by refusing
 25   to stipulate to the admissibility of the late-produced and unauthenticated Wi-Fi
 26   Alliance documents. Mot. at 25. But at trial, the Court rejected Caltech’s attempt
 27   to admit those documents, except for one. 1/17 (AM) Tr. at 148:3-15. Objecting to
 28   the admissibility of documents that the Court itself refused to admit is hardly

                                        -25-                     Case No. 2:16-cv-3714-GW-AGRx
                                     DEFENDANTS’ OPPOSITION TO CALTECH’S POST-TRIAL MOTION
Case 2:16-cv-03714-GW-AGR Document 2179 Filed 04/30/20 Page 34 of 44 Page ID
                                #:143132
        REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED UNDER SEAL
  1   egregious litigation behavior sufficient to trigger a payment of attorneys’ fees.
  2         Second, Caltech argues that Defendants “played games” by failing to produce
  3   prior art until shortly before depositions of two consulting experts. Mot. at 26. As
  4   Defendants explained at the time, however, both experts had been asked during fact
  5   discovery to collect and produce potential prior art, but neither realized the relevance
  6   of certain non-printed publication art in their possession until later responding to
  7   Caltech’s subpoena. Dkt. 1470 at 65:10-18, 67:1-21, 69:5-70:24. Caltech’s motion
  8   does not identify any reason to doubt the veracity of those representations of a good-
  9   faith mistake.17
 10         Finally, Defendants made 28 fact witnesses available for deposition, whom
 11   Caltech questioned at length across thousands of pages of testimony. For 27 of these
 12   depositions, Caltech does not identify even a single instance of allegedly improper
 13   behavior. It instead focuses entirely on the deposition of Broadcom engineer Alvin
 14   Lin—who showed obvious discomfort at his first-ever deposition, which at times
 15   led to awkward lengthy pauses and frequent requests for more precise questioning
 16   (which Mr. Lin typically expressed in terms of stating that he did not understand a
 17   question, which Caltech wrongly describes as “refus[al]s” to answer). Mot. at 24.
 18         But even in singling-out Mr. Lin, Caltech does not identify: (1) any deposition
 19   testimony that supposedly was untruthful or inconsistent with evidence either party
 20   offered at trial; (2) a single way in which Caltech claims to have suffered any
 21   prejudice as a result of Mr. Lin’s deposition; or (3) any instance before trial in which
 22   it moved to compel further testimony from Mr. Lin or otherwise complained to the
 23
 24   17
        Defendants were not required to collect responsive documents from independent
 25   consultants. Dkt. 1122. Regardless, this honest mistake ultimately prejudiced
      Defendants after the Court barred use of the documents as “known or used”
 26
      invalidity evidence at trial. Caltech also incorrectly contends that Defendants made
 27   an “invalidity proffer” for these documents. Mot. at 26, 33. Defendants included
      them as state of the art evidence (and to preserve appellate arguments), Dkt. 1763 at
 28
      1-2, not as prior art rendering the asserted claims invalid.
                                        -26-                     Case No. 2:16-cv-3714-GW-AGRx
                                     DEFENDANTS’ OPPOSITION TO CALTECH’S POST-TRIAL MOTION
Case 2:16-cv-03714-GW-AGR Document 2179 Filed 04/30/20 Page 35 of 44 Page ID
                                #:143133
        REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED UNDER SEAL
  1   Court about his deposition behavior. This is because Caltech’s attempt to focus the
  2   jury on Mr. Lin was a mere sideshow having nothing to do with the merits of the
  3   case or any resulting prejudice to Caltech.
  4         Caltech also ignores that Defendants produced extensive discovery directed
  5   to the accused LDPC functionality, including the controlling source code and
  6   testimony from multiple other witnesses (including from Dr. Blanksby, who was the
  7   30(b)(6) designee concerning operation of the accused functionality) beyond Mr.
  8   Lin (who was not a 30(b)(6) witness on any issue).18 That discovery left no doubt
  9   about how the accused LDPC functionality works, and nothing at Mr. Lin’s
 10   deposition changed that fact.
 11         The remainder of Caltech’s criticisms levied at Mr. Lin are both inaccurate
 12   and unfair. The cited testimony merely reflects that, rather than try to help a first-
 13   time deponent navigate questions that Mr. Lin had identified as unclear to him,
 14   Caltech’s counsel instead sought to compound that confusion. For example, at the
 15   outset of his deposition, Mr. Lin testified that he did not “understand what you mean
 16   by the term ‘where’”—a term that the Court itself recognized in reviewing the
 17   proposed jury questionnaire can refer to different things in different contexts (e.g.,
 18   a physical location versus the name of a company)19—and that he more broadly did
 19   not “understand the procedure that we’re going through right now [involving his
 20   desire for more precise questions].” Dkt. 2168-7 at 9:13-18, 10:18-29, 11:4-8.
 21         Rather than trying to clarify, Caltech’s counsel spent the next ten minutes
 22   asking irrelevant questions using the exact term that Mr. Lin had identified as the
 23
      18
 24      Even so, Mr. Lin provided substantive testimony about the operation of the
      accused functionality and source code—which Caltech just ignores. E.g., Dkt. 2168-
 25
      7 at 89:18-22, 90:7-15, 112:9-113:20, 133:9-141:15, 142:1-25.
 26   19
        The Court advised the parties to revise the jury questionnaire because the proposed
 27   question “where do you work currently” was unclear and “a lot of jurors are gonna
      put down the location of where they work rather than what it is they do.” 12/30/19
 28   Hr’g Tr. at 5:5-10.
                                         -27-                     Case No. 2:16-cv-3714-GW-AGRx
                                      DEFENDANTS’ OPPOSITION TO CALTECH’S POST-TRIAL MOTION
Case 2:16-cv-03714-GW-AGR Document 2179 Filed 04/30/20 Page 36 of 44 Page ID
                                #:143134
        REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED UNDER SEAL
  1   source of his need for clarification. Id. at 10:25-12:19 (“Where do you work? …
  2   Where are we right now? … Where did you get your master’s degree? … Where
  3   were you born? … Where are you right now?”). Having poisoned the well at the
  4   outset, Caltech cannot proclaim innocence at having created a nervous and
  5   incredibly careful witness for the remainder of the deposition.20
  6         Caltech relatedly complains that Broadcom’s counsel reminded Mr. Lin of his
  7   right to review documents for context when he felt the need to do so. Mot. at 24.
  8   But these instructions largely occurred when Caltech’s counsel prodded the witness
  9   to hurry up and skip ahead. E.g., Dkt. 2168-7 at 55:10-56:8 (“WITNESS: I will let
 10   you know when I’m ready to start answering questions. Q: (By Mr. Briggs:) Have
 11   you turned to that page, yet? A: (No verbal response.) Q: Are you concerned about
 12   turning to that page and answering questions about it? MR. DOWD: Objection.
 13   Argumentative.    ...   Again, Mr. Lin, you have the opportunity to review the
 14   document to understand the context before you are required to start answering
 15   questions about some line or page out of context.”); id. at 53:15-54:4 (“A. Could
 16   you please wait until I indicate that I’m ready? Q. I think you are looking at a
 17   presentation that I haven’t asked you to look at. Can you turn to the presentation ….
 18   Mr. DOWD: Mr. Lin, you have whatever time you need to review the document
 19   that has been [] put in front of you ….”).
 20         Equally unfounded is Caltech’s claim that Broadcom’s counsel encouraged
 21   Mr. Lin to be obstructionist. The deposition record shows that Broadcom’s counsel
 22   encouraged Mr. Lin to do his best to answer questions, including by referring to the
 23
      20
        Also untrue is Caltech’s assertion that Mr. Lin conducted “lengthy reviews of
 24   blank pages.” Mr. Lin was asked to opine on a 55-page technical presentation with
 25   out-of-order note pages attached, some that contained substantive content and some
      that did not. Ex. 4; Dkt. 2168-7 at 78:4-10, 79:14-20. Mr. Lin cannot be faulted for
 26   taking time to understand such a complicated and disorganized document before
 27   offering sworn testimony under oath about it—regardless of whether Caltech’s
      counsel would have preferred for Mr. Lin to review just the isolated snippets that
 28   Caltech cared about. There was nothing “exceptional” about this conduct.
                                        -28-                     Case No. 2:16-cv-3714-GW-AGRx
                                     DEFENDANTS’ OPPOSITION TO CALTECH’S POST-TRIAL MOTION
Case 2:16-cv-03714-GW-AGR Document 2179 Filed 04/30/20 Page 37 of 44 Page ID
                                #:143135
        REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED UNDER SEAL
  1   source code, even after Caltech’s time on the record had expired. Dkt. 2168-7 at
  2   108:5-6 (“We have hit the seven-hour mark.”); id. at 130:4-131:2 (“do your best to
  3   sort through this on the fly”); id. at 134:4-143:4 (witness using source code
  4   computer); id. at 22:9-11, 32:2-3, 119:24-120:3 (assisting with code computer).21
  5         In sum, none of Caltech’s cited discovery conduct was improper, and certainly
  6   none amounts to “exceptional” behavior sufficient to justify a fees award. Fees also
  7   should be rejected because, at the time of each supposed act of misconduct, Caltech
  8   “fail[ed] to provide early, focused, and supported notice of its belief that it was being
  9   subjected to exceptional litigation behavior.” Stone Basket Innovations, LLC v.
 10   Cook Med. LLC, 892 F.3d 1175, 1181 (Fed. Cir. 2018).
 11         B.     Caltech Has Not Identified Any Other Pre-Trial Litigation
                   Conduct That Could Serve As The Basis For A Fees Award.
 12
            Caltech implies that Defendants’ case was “frivolous” because “Defendants
 13
      had one remaining defense [at trial] – non-infringement.”            Mot. at 27.     But
 14
      Defendants offered many reasonable noninfringement defenses at trial—on which
 15
      Caltech did not secure summary judgment or JMOL—which alone confirms that the
 16
      merits of Defendants’ case were not “frivolous.” The same result is confirmed by
 17
      the Patent Office’s decision to institute seven inter partes reviews (IPRs) directed to
 18
      the asserted claims—after finding each petition presented a “reasonable likelihood”
 19
 20   21
         Caltech also criticizes an instruction directed to a question about Mr. Lin’s prior
 21   grades. Mot. at 24 n.9. The full context shows that, when asked about his education,
      Mr. Lin explained he has a Master’s of Engineering degree, but was asked questions
 22
      about a different “master’s of science degree” (which he does not have). Dkt. 2168-
 23   7 at 46:2-4, 49:4-11, 49:21-24, 50:21-24, 52:12-18. Caltech’s counsel continued to
      pester Mr. Lin with questions about his GPA for a nonexistent degree until
 24
      Broadcom’s counsel objected on relevance grounds, id. at 51:5-24, just as Caltech
 25   had done at depositions for its own witnesses, Ex. 5 at 68:1-4 (Caltech’s counsel
      “instructing [named inventor Dr. Jin] not to answer on grounds of … total
 26
      irrelevancy to this case”). Caltech also refers to a privilege objection the Court
 27   overruled at trial involving when Mr. Lin first learned of the Caltech patents. Mot.
      at 23. But Caltech has not explained how that objection makes this case
 28
      “exceptional,” just because it was overruled.
                                         -29-                     Case No. 2:16-cv-3714-GW-AGRx
                                      DEFENDANTS’ OPPOSITION TO CALTECH’S POST-TRIAL MOTION
Case 2:16-cv-03714-GW-AGR Document 2179 Filed 04/30/20 Page 38 of 44 Page ID
                                #:143136
        REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED UNDER SEAL
  1   that the challenged claims were invalid. See 35 U.S.C. § 314(a). That “reasonable”
  2   invalidity defense did not become unreasonable merely because the Patent Office
  3   invalidated certain claims, but not those asserted at trial. Vectura, 2019 WL
  4   4346502, at *6 (denying fees request where “close case” invalidity theories were not
  5   “frivolous or unreasonable”).
  6         Caltech next argues that Defendants asserted three “frivolous” defenses. Mot.
  7   at 27-31. But each involved good-faith arguments directed to closely-contested
  8   issues, including unsettled areas of law—far from the type of exceptional behavior
  9   needed to award fees. See Univ. of Utah, 851 F.3d at 1323 (“weak” case not
 10   “objectively unreasonable”); WesternGeco L.L.C. v. ION Geophysical Corp., 953 F.
 11   Supp. 2d 731, 755 (S.D. Tex. 2013) (“complicated case” not exceptional where
 12   “issues were close questions of law and fact”), aff’d in part, rev’d in part on other
 13   grounds, 837 F.3d 1358 (Fed. Cir. 2016).22
 14         First, Caltech characterizes Defendants’ assertion of their “known or used”
 15   invalidity defense as “egregious.” Mot. at 27. But the Court initially (1) authorized
 16   Defendants to rely on “known or used” evidence, and to include documents related
 17   to that defense in their selection of prior art, Dkt. 673 at 9, (2) noted the “dearth of
 18   guidance from the Federal Circuit on the issues,” Dkt. 830 at 15, and (3) denied
 19   Caltech’s motion for summary judgment on one “known or used” ground, id. at 28.
 20
 21   22
         Caltech ignores its own losses and criticisms from the Court on numerous
 22   substantive issues before and during trial. For example: (1) the Court struck
      Caltech’s final infringement contentions as “deficient” because, inter alia, Caltech’s
 23   response left Defendants “to piece together Plaintiff’s contentions” and lacked key
 24   “additional detail,” Dkt. 393 at 3; (2) in granting Defendants summary judgment of
      no joint infringement, the Court found Caltech’s arguments were both “troubling
 25   and insufficient,” Dkt. 1213 at 4; and (3) just days before trial, the Court admonished
 26   Caltech for obfuscating its infringement theory: “I don’t understand why you guys
      are making it so difficult. You know, you’re supposed to provide a high level …
 27   limitation by limitation explanation of your infringement theory as it relates to the
 28   accused products, and you constantly are not doing that. You know, I don’t know
      what I’m supposed to do at this point in time,” 1/13/20 Hr’g Tr. 16:23-17:4.
                                         -30-                     Case No. 2:16-cv-3714-GW-AGRx
                                      DEFENDANTS’ OPPOSITION TO CALTECH’S POST-TRIAL MOTION
Case 2:16-cv-03714-GW-AGR Document 2179 Filed 04/30/20 Page 39 of 44 Page ID
                                #:143137
        REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED UNDER SEAL
  1   These rulings alone refute Caltech’s claim of frivolous conduct, even though the
  2   Court later barred the defense. Dkt. 1929-1 at 8 (noting parties’ dispute “has never
  3   been addressed by the Federal Circuit” and “[n]o cases have dealt with the specific
  4   issue”); 12/6/18 Hr’g Tr. at 56:11-15 (“Obviously, there are splits in the district court
  5   within the state if I go that way and also across the country.”).
  6         Caltech points to a comment in which the Court stated that the “known or
  7   used” dispute “will be on the Court’s mind if this case reaches the point of requiring
  8   an exceptionality determination.” Mot. at 27. But Caltech omits the related
  9   clarification that the Court made just a few days later: “Although other litigation
 10   tactics by one or both parties have led the Court to make a comment regarding fees,
 11   the overall circumstances surrounding the prosecution of this case should not lead
 12   either party to expect them.” Dkt. 1214 at 2 n.1 (“[T]he Court warns that the
 13   chances of a successful request for fees under 35 U.S.C. § 285 will be low.”).
 14         Caltech further argues that Defendants’ “known or used” disclosures were too
 15   voluminous—which it portrays as an effort to “obfuscate.” Mot. at 28-29. But the
 16   Court sympathetically noted at the time the risk Defendants faced if they had under-
 17   disclosed evidence supporting the defense: “The stakes in this case are high, and
 18   Defendants may have feared that if they did not throw the ‘kitchen sink’ … Plaintiff
 19   would later by crying ‘waiver.’” Dkt. 1929-1 at 18-19. See Kolcraft Enters., Inc. v.
 20   Chicco USA, Inc., 2019 WL 4242482, at *21 (N.D. Ill. Sept. 6, 2019) (denying fees
 21   even though plaintiff’s “victory at trial was decisive” because the “overall case …
 22   was relatively close” and defendant’s “kitchen-sink approach to many issues” did
 23   not “stand far enough apart from other high-stakes, high-cost litigation”).23
 24
      23
        Caltech incorrectly claims that Defendants failed to disclose the basis for their
 25   “known or used” defense. E.g., Dkt. 1779-3 ¶¶ 226, 230, 238, 242, 244, 250
 26   (describing content of the documents, comparing them to the asserted claims, and
      explaining how the content was communicated without confidentiality restrictions).
 27   Caltech also gripes about documents directed to this defense produced shortly before
 28   depositions, Mot. at 27, but those are the same documents discussed above that
      Defendants’ consulting experts mistakenly failed to identify earlier. Further,
                                         -31-                     Case No. 2:16-cv-3714-GW-AGRx
                                      DEFENDANTS’ OPPOSITION TO CALTECH’S POST-TRIAL MOTION
Case 2:16-cv-03714-GW-AGR Document 2179 Filed 04/30/20 Page 40 of 44 Page ID
                                #:143138
        REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED UNDER SEAL
  1         Second, Caltech cites the Court’s grant of summary judgment against
  2   Defendants on their inequitable conduct defense. Mot. at 29. But that defense was
  3   not frivolous—as confirmed by Judge Pfaelzer’s decision in the Hughes litigation
  4   denying summary judgment directed to the same inequitable conduct defense (based
  5   on the same undisclosed Richardson99 reference). Cal. Inst. of Tech. v. Hughes
  6   Commc’ns, 2015 WL 11089495, at *7 (C.D. Cal. May 5, 2015). Nor was it
  7   unreasonable for Defendants to continue pressing that unenforceability defense after
  8   the final IPR decisions issued—particularly given that, as the Court noted,
  9   Richardson99 was “never raised … in an IPR petition” (and, thus, the Patent Office
 10   had never addressed its disclosure or materiality). Dkt. 830 at 17.24
 11         Caltech also complains about “unpled” inequitable conduct theories. Mot. at
 12   29. But Defendants promptly supplemented their interrogatory responses to disclose
 13   an additional basis for inequitable conduct after learning in discovery
 14                                                                           Dkt. 1104 at 9-
 15   10. Although the Court ultimately found Defendants’ supplementation procedurally
 16   insufficient, that result was far from certain and does not transform a good-faith
 17   effort at timely disclosure into exceptional misconduct. And it makes no sense for
 18   Caltech to argue (Mot. at 29) that Defendants “violated the Court’s express order
 19
      whether Defendants were obligated to search for those documents was at best a close
 20   call, as confirmed by the Court’s request for supplemental briefing. 4/25/19 Hr’g
 21   Tr. at 31:20-32:5. Once Defendants uncovered those materials, they promptly
      supplemented their discovery responses, Dkt. 944-4, to which Caltech did not object
 22
      for more than one year.
 23   24
        Caltech wrongly suggests that Defendants relied on the Luby97/98 references as
 24   the basis for a material omission claim. Mot. at 29 n.16. Defendants instead relied
      on those references to show that Caltech made a false representation during
 25   prosecution (that the prior art did not disclose “irregular repetition”)—which does
 26   not require a “but-for” showing. Therasense, Inc. v. Becton, Dickinson and Co., 649
      F.3d 1276, 1292-93 (Fed. Cir. 2011) (“When the patentee has engaged in affirmative
 27   acts of egregious misconduct, such as the filing of an unmistakably false affidavit,
 28   the misconduct is material.”); Hughes, 2015 WL 11089495, at *7 (finding disputed
      facts about whether falsity was established based on Luby references).
                                       -32-                     Case No. 2:16-cv-3714-GW-AGRx
                                    DEFENDANTS’ OPPOSITION TO CALTECH’S POST-TRIAL MOTION
Case 2:16-cv-03714-GW-AGR Document 2179 Filed 04/30/20 Page 41 of 44 Page ID
                                #:143139
        REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED UNDER SEAL
  1   not to file additional motions without leave” by filing a “motion for leave to amend
  2   their answer.”
  3         Finally, Caltech criticizes Defendants for “continued pursuit” of their Section
  4   101 patent-ineligibility defenses for the ’032 and ’710 patents after the Court denied
  5   their Section 101 summary judgment motion for the ’781 patent. Mot. at 29-30. But
  6   Defendants merely opposed Caltech’s motion for summary judgment (in part to
  7   preserve its appellate rights), Dkt. 1319-1 at 6-7, and stopped pressing the defense
  8   for both patents after the Court granted the motion, e.g., Dkt. 1500-1. And as
  9   explained in Defendants’ post-trial motion, Caltech’s shifting trial arguments
 10   confirmed the merits of the dismissed Section 101 defenses. Dkt. 2160-1 at 28-30.
 11         Therefore, there was nothing unreasonable about any of the litigation conduct
 12   cited in Caltech’s motion. See Mass Engineered Design, Inc. v. Planar Sys., Inc.,
 13   2019 WL 5856429, at *3 (D. Or. Nov. 8, 2019) (holding rejection of a party’s
 14   “arguments during this complex, hard-fought patent litigation does not mean [the
 15   party] unreasonably litigated this case to the point that it rises to the level of an
 16   exceptional case warranting an award of attorney’s fees”); Lubby Holdings, 2019
 17   WL 4284509, at *2 (“For a case to stand out under the Octane standard, a party’s
 18   litigating position must be objectively meritless rather than merely unpersuasive.”).
 19         C.     Caltech Has Not Identified Any Trial Conduct That Could Serve
                   As The Basis For A Fees Award.
 20
            Caltech’s fees request also accuses Defendants of “flagrant disregard for
 21
      Court orders during trial.” Mot. at 31. But the record refutes those claims.
 22
            First, Caltech argues that Defendants advanced “untenable non-infringement
 23
      theories” at trial based on “rejected constructions” of the “random” limitation. Mot.
 24
      at 31. But at trial, Defendants (1) applied the precise construction that the Court had
 25
      issued for the term at summary judgment—i.e., as requiring either “a purely random
 26
      process of connecting information bits and check nodes” or “pseudo random
 27
      processes that result in an output that appears random,” Dkt. 1639 at 9; (2)
 28

                                        -33-                     Case No. 2:16-cv-3714-GW-AGRx
                                     DEFENDANTS’ OPPOSITION TO CALTECH’S POST-TRIAL MOTION
Case 2:16-cv-03714-GW-AGR Document 2179 Filed 04/30/20 Page 42 of 44 Page ID
                                #:143140
        REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED UNDER SEAL
  1   established through Dr. Stark that the accused matrices in the 802.11 standards were
  2   not generated using a “random process,” as claimed, 1/24 (PM) Tr. at 114:11-
  3   115:17; and (3) confirmed with Dr. Shoemake on cross-examination that he did not
  4   know “how” the matrices were constructed—and, thus, had no basis to opine that
  5   they had resulted from a “random” process, 1/21 (AM) Tr. at 100:4-6, 100:23-25.25
  6         Second, Caltech alleges that “Defendants attempted to elicit undisclosed non-
  7   infringement opinions from Dr. Blanksby.” Mot. at 32. But Caltech tellingly fails
  8   to identify a single noninfringement opinion that Dr. Blanksby tried to offer that was
  9   not disclosed in his report. Rather, the only testimony that Caltech cites relates to
 10   factual testimony sought from Dr. Blanksby about the accused functionality that he
 11   personally helped design. 1/23 Tr. 145:20-146:24, 151:5-151:20, 152:8-13 (“I
 12   don’t want you to compare to any other techniques right now. Just explain to us
 13   how this particular technique works as a factual matter.”). As to those fact issues,
 14   he was a proper fact witness.
 15         When requiring Dr. Blanksby to submit an expert report before trial, the Court
 16   repeatedly made clear that the report only needed to disclose opinions “related to
 17   [how] the accused products … do not infringe particular claim elements of the
 18   asserted patents,” and litigation-specific analyses on certain other issues. Dkt. 746
 19   at 2. At the time, the Court made clear that the report did not need to cover facts
 20   within Dr. Blanksby’s personal knowledge. Id. at 3 n.2 (explaining Dr. Blanksby
 21   was “not required to provide disclosures for any identified topics on which he will
 22   opine as purely a fact witness”). Indeed, at trial, the Court overruled at least certain
 23   objections directed to facts for which Dr. Blanksby had percipient knowledge. 1/23
 24
      25
 25     The Court sustained Caltech’s cited objection based on the mistaken belief that
      Defendants’ questions were directed to “why [the matrices] were originally chosen.”
 26   1/21 (AM) Tr. 102:20-24. The record shows that Defendants asked about “how …
 27   these matrices were constructed,” id. at 100:23-24, which bears directly on whether
      the matrices were the result of a random or pseudo-random process under the Court’s
 28   claim construction ruling.
                                         -34-                     Case No. 2:16-cv-3714-GW-AGRx
                                      DEFENDANTS’ OPPOSITION TO CALTECH’S POST-TRIAL MOTION
Case 2:16-cv-03714-GW-AGR Document 2179 Filed 04/30/20 Page 43 of 44 Page ID
                                #:143141
        REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED UNDER SEAL
  1   Tr. 116:14-19, 117:10-18, 126:8-14, 130:25-131:1, 146:3-13, 147:23-148:5.26
  2         Further, the record does not support Caltech’s charge that Broadcom “falsely
  3   represented” that Dr. Blanksby disclosed an opinion in his report about whether
  4   LDPC parity check matrices practice the “random” limitation. Mot. at 32. Multiple
  5   sections of the report disclosed that opinion. Dkt. 996-15 ¶¶ 152, 183, 201, 206. In
  6   fact, immediately after the sidebar addressing that issue, counsel showed a paragraph
  7   from Dr. Blanksby’s report and obtained his testimony regarding the described
  8   parity-check matrix—without objection. 1/23 Tr. 178:19-179:19. Caltech has thus
  9   failed to identify any undisclosed expert testimony elicited from Dr. Blanksby.27
 10         Finally, Caltech makes a baseless argument that Defendants sought to
 11   “backdoor their invalidity defenses” in violation of the Court’s orders. Mot. at 33.
 12   Defendants never argued invalidity to the jury. Instead, Defendants repeatedly made
 13   clear—both on the record and in briefing—that they only intended to offer state of
 14   the art evidence for other permissible purposes, including to establish the context of
 15   the invention and its relative value—which is exactly what they did, to the limited
 16   extent that the Court permitted. E.g., 1/16 (AM) Tr. 7:3-10; Dkt. 1927 at 2.
 17         In sum, Caltech has identified nothing that occurred at trial—or during any
 18   other phase of the case—that could justify an award of attorneys’ fees.
 19   VIII. CONCLUSION
 20         For the foregoing reasons, Defendants respectfully ask the Court to deny
 21   Caltech’s post-trial motions.
 22
 23   26
        Despite Caltech’s claim, it is not surprising that Defendants’ counsel raised the
 24   prospect of a mistrial when the Court suggested it would not allow Dr. Blanksby to
 25   offer other key fact testimony relevant to Broadcom’s accused products—especially
      after allowing Dr. Jin to testify extensively about the background of the claimed
 26   invention (without any expert report from him), and letting Dr. Hassibi testify on
 27   multiple subjects not disclosed in his expert report. Dkt. 2160-1 at 32-35.
      27
        Caltech’s own experts had testimony excluded because it was not disclosed in an
 28
      expert report. E.g., 1/23 Tr. 12:2-7 (striking portions of Dr. Teece’s testimony).
                                         -35-                     Case No. 2:16-cv-3714-GW-AGRx
                                      DEFENDANTS’ OPPOSITION TO CALTECH’S POST-TRIAL MOTION
Case 2:16-cv-03714-GW-AGR Document 2179 Filed 04/30/20 Page 44 of 44 Page ID
                                #:143142
        REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED UNDER SEAL
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                                  -36-                     Case No. 2:16-cv-3714-GW-AGRx
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